     Case 4:20-cv-03033-JST Document 136-4 Filed 04/18/24 Page 1 of 115




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     HOSPITALITY HOUSE, COALITION ON
13   HOMELESSNESS, and FAITHFUL FOOLS
14
                                  UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
     COLLEGE OF THE LAW, SAN FRANCISCO, a                    Case No. 4:20-cv-3033-JST
17   public trust and institution of higher education duly
     organized under the laws and the Constitution of the    DECLARATION OF LAUREN
18   State of California; FALLON VICTORIA, an                HANSEN IN SUPPORT OF
     individual; RENE DENIS, an individual;                  INTERVENORS’ RESPONSE
19   TENDERLOIN MERCHANTS AND PROPERTY                       TO PLAINTIFFS’ MOTION
     ASSOCIATION, a business association; RANDY              TO ENFORCE STIPULATED
20   HUGHES, an individual; and KRISTEN                      INJUNCTION
     VILLALOBOS, an individual,
21                                                           ASSIGNED FOR ALL
                    Plaintiffs,                              PURPOSES TO THE
22                                                           HONORABLE JON S. TIGAR,
                    v.                                       COURTROOM 6
23
     CITY AND COUNTY OF SAN FRANCISCO, a                     Date: 05/23/2024
24   municipal entity,                                       Time: 2:00 p.m.
25                  Defendant.
                                                             Action Filed: 05/04/2020
26                                                           TRIAL DATE: (TBD)

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     Case No. 4:20-cv-3033-JST
     DECL OF L. HANSEN ISO INTVS’ RESP TO PLTFS’ MTN TO ENFORCE STIP INJUNCTION          1
     Case 4:20-cv-03033-JST Document 136-4 Filed 04/18/24 Page 2 of 115




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 4   Fax: (415) 982-4243
     Email: mkeys@baylegal.org
 5
     (Counsel for Intervenors continued from previous page)
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     Case No. 4:20-cv-3033-JST
     DECL OF L. HANSEN ISO INTVS’ RESP TO PLTFS’ MTN TO ENFORCE STIP INJUNCTION   2
     Case 4:20-cv-03033-JST Document 136-4 Filed 04/18/24 Page 3 of 115




 1   I, Lauren Hansen, declare:
 2           1.      I am an attorney with the Public Interest Law Project, admitted to practice law in
 3   California and before this court. I represent Intervenors Hospitality House, Coalition on
 4   Homelessness, and Faithful Fools in Intervenors’ Opposition to the City and County of San
 5   Francisco’s Motion to Enforce the Stipulated Injunction.
 6           2.      The facts set forth below are known to me personally, and I have first-hand
 7   knowledge of these facts. If called as a witness, I could and would testify competently, under
 8   oath, to such facts.
 9           3.      After agreeing to a dismissal of the action on September 29, 2020, the Court
10   administratively closed the case on October 7, 2020. I did not hear of any activity with this
11   Injunction until September 8, 2023.
12           4.      On September 8, 2023, I received a notification from the Court, referring the
13   parties to a pre-settlement conference. I participated in a call with Judge Cisneros to discuss
14   Intervenors’ participation in the new round of discussions of the Stipulated Injunction on
15   September 15, 2023. I also participated in a pre-settlement conference with all of the parties on
16   October 2, 2023.
17           5.      I represented Intervenors’ during a meeting on November 15, 2023, along with
18   Intervenor Sam Dennison from Faithful Fools. The Intervenors’ explained their position on the
19   settlement agreement, but the Parties did not reach any resolution to Plaintiffs’ concerns.
20           6.      Nearly four months later, I received notification that Plaintiffs filed a Motion to
21   Enforce the Stipulated Injunction. I met and conferred with counsel for Plaintiffs and the City,
22   and we agreed on a modified briefing schedule. I submit this Declaration in support of
23   Intervenors’ Opposition to the Plaintiffs’ Motion to Enforce.
24           7.      Attached is a true and correct copy of a statement Mayor London Breed made on
25   Medium.com about the City’s compliance with the injunction in Coalition on Homelessness et
26   al. v. City and County of San Francisco et al. (case no. 22-cv-05502-DMR, 2022). The
27   statement is labeled Exhibit 1.
28

     Case No. 4:20-cv-3033-JST
     DECL OF L. HANSEN ISO INTVS’ RESP TO PLTFS’ MTN TO ENFORCE STIP INJUNCTION                            3
     Case 4:20-cv-03033-JST Document 136-4 Filed 04/18/24 Page 4 of 115




 1          8.      Attached as Exhibit 2 is a true and correct copy of the City’s Police Bulletin
 2   governing encampment cleanups. I obtained this document on April 10, 2024 from the City of
 3   San Francisco’s Police Department Website at https://www.sanfranciscopolice.org/department-
 4   bulletins-notices-2023.
 5          9.      Exhibit 3 is a true and correct copy of an article from SFIST, describing the City’s
 6   efforts to removed unhoused people from the area surrounding the Dreamforce Conference. I
 7   viewed and downloaded this on March 21, 2024, from this website:
 8   https://sfist.com/2023/09/15/benioff-praises-city-cleanup-for-dreamforce-asks-why-it-cant-be-
 9   like-this-every-day/. I also viewed multiple social media posts on X (formerly Twitter) that
10   publicize the City’s efforts to remove homeless encampments in the Tenderloin as well as
11   throughout the City.
12          10.     I am attaching a true and correct copy of a transcript from Mayor London Breed’s
13   “state of the City” speech. I obtained this document on March 21, 2024. In this speech, Mayor
14   Breed claims success with “bringing down the tents” reducing them by 37%, in the last six
15   months, the “lowest since before 2018.” This transcript is labeled as Exhibit 4.
16          11.      Attached as Exhibit 5 is a true and correct copy of the City’s Point-in-Time
17   Homeless Count. I downloaded this document off of this website on March 20, 2024 at
18   https://hsh.sfgov.org/about/research-and-reports/pit/.
19          12.     Exhibit 6 is a true and correct copy of the City’s data dashboard page on daily
20   utilization of shelter sites. I found this information here https://hsh.sfgov.org/services/the-
21   homelessness-response-system/shelter/. The page I downloaded explains the data, including
22   disclaimers that the data may not be completely accurate. I downloaded this from the City’s
23   website on March 20, 2024.
24   //
25   //
26   //
27   //
28   //

     Case No. 4:20-cv-3033-JST
     DECL OF L. HANSEN ISO INTVS’ RESP TO PLTFS’ MTN TO ENFORCE STIP INJUNCTION                        4
     Case 4:20-cv-03033-JST Document 136-4 Filed 04/18/24 Page 5 of 115




 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct to the best of my knowledge. Executed on April 18, 2024 at
 3   Oakland, California.
 4                                               _____________________________
 5                                               Lauren Hansen
                                                 Attorney for Intervenors
 6                                               Hospitality House; Coalition on Homelessness; and
                                                 Faithful Fools
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     Case No. 4:20-cv-3033-JST
     DECL OF L. HANSEN ISO INTVS’ RESP TO PLTFS’ MTN TO ENFORCE STIP INJUNCTION                      5
Case 4:20-cv-03033-JST Document 136-4 Filed 04/18/24 Page 6 of 115




            EXHIBIT 1
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      /9*.050/*602+ÿ67*6ÿ3099ÿ*9923ÿ;1ÿ62ÿ.41;<4ÿ4+52./4<4+6ÿ25ÿ9*31ÿ67*6ÿ34d̀4
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      B1<=.2ÿ5,788,5ÿ+/9ÿ5.984+=C5ÿ@37ÿB83B=8ÿ4*3ÿ+78ÿD./;3=1/,+7.=?ÿ*3>8=855EF
      )*.5ÿ,87>ÿ+/9ÿ4*3ÿ.,ÿ+BB=.85ÿ,3ÿ*+5ÿ<88/ÿ,*8ÿ51<082,ÿ3@ÿ98<+,8ÿ+/9ÿ2317,
      +BB8+=5ÿ3;87ÿ,*8ÿ=+5,ÿ58;87+=ÿ>3/,*5Aÿ+/9ÿGHIÿKLMNGOPÿQRSTÿLUÿSQRNVGWÿRXY
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      +2C/34=89689ÿ,*+,ÿ./9.;.91+=5ÿ+78ÿ/3,ÿ./;3=1/,+7.=?ÿ*3>8=855ÿ.@ÿ,*8?ÿ*+;8
      982=./89ÿ+ÿ5B82.@.2ÿ3@@87ÿ3@ÿ+;+.=+<=8ÿ5*8=,87ÿ37ÿ3,*874.58ÿ*+;8ÿ+22855ÿ,3ÿ512*
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      @715,7+,./6Eÿj1,ÿ48ÿ*+;8ÿ,3ÿ@3215ÿ3/ÿ>3;./6ÿ@374+79E
      kIlGÿmGIiP
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      8/2+>B>8/,ÿ7853=1,.3/5ÿ1/987ÿ,*8ÿ./01/2,.3/Aÿ+/9ÿ,*8?ÿ+78ÿ/34ÿ68,,./6
      B78B+789ÿ,3ÿ8/@3728ÿ,*858ÿ=+45ÿ./ÿ=.6*,ÿ3@ÿ,*.5ÿ7828/,ÿ2=+7.@.2+,.3/ÿ<?ÿ,*8
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      3*2.:7<ÿ5*ÿA2:7<ÿ5;/,ÿ:76**20=ÿ-0ÿ3/ÿ-2/ÿ52B:7<ÿ5*ÿ6*Gÿ[76ÿ5;/Bÿ-2/ÿ5;/ÿ0-,/
      4/*4@/ÿ:7052185:7<ÿ-76ÿ/78*12-<:7<ÿ4/*4@/ÿ5*ÿ2/910/ÿ0;/@5/2ÿ\ÿ5*ÿ2/,-:7ÿ*7
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      ]15ÿ*12ÿ8*,,:5,/75ÿ5*ÿ-662/00:7<ÿ3;-5F0ÿ;-44/7:7<ÿ*7ÿ*12ÿ052//50ÿ:0
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        • _/ÿ3:@@ÿ3*2.ÿ5*ÿA2:7<ÿ4/*4@/ÿ:76**20G
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                                                    DEPARTMENT NOTICE
                                                                                            23-202
                                                                                Published: 12/08/23
                                                                                  Expires: 12/08/26

Enforcement of Laws and Ordinances for Individuals Experiencing Homelessness
                 Sitting, Lying, or Sleeping on Public Property
                                     (Supersedes DN 23- 166)

The purpose of this notice is to inform members of the updated contact days and hours of the
DEM/HSOC Dispatch Supervisor when engaging in a homeless enforcement action.
Background

On December 23 , 2022 , the United States District Court, Northern District of California,
partially granted a preliminary injunction ("injunction") regarding the City's enforcement of
some City ordinances and other laws pertaining to homeless encampments, (Case No. 22-cv-
05502-DMR).
The injunction remains in effect but has been further clarified through the litigation. The goal of
this Department Notice is to provide guidance to members regarding the enforcement of City
ordinances and other laws for homeless individuals sitting, lying, or sleeping on public property,
subject to any future legal developments while this evolving issue navigates the court system.
Definitio ns

Threat of Enforcement: any statement of intention regarding the possibility of enforcement of the
laws identified in the inj unction; this should not rise to the level of a criminal threat under
California Penal Code section 422.

Involuntarily Homeless: an individual who ( l) does not have access to shelter that is specific to
them, considering any special needs; or (2) the City has not made a specific offer of shelter to
them.

Voluntarily Homeless: an individual who has ( l) declined a specific offer ofavailable shelter to
them, when that specific offer remains open at the time of enforcement; (2) otherwise has access
to such shelter; or (3) the means to obtain it.

Policy

Under the inj unction, members may not enforce or threaten to enforce, and also may not rely on
California Penal Code Section l 48(a) to enforce or threaten to enforce, these five laws to prohibit
involuntarily homeless individuals from sitting, lying, or sleeping on public property:

   •     Cal. Penal Code§ 647(e) (public lodging)
   •     Cal. Penal Code§ 370 (public nuisance)
   •     Cal. Penal Code§ 3 72 (public nuisance)
   •     San Francisco Police Code§ 168 (sit/lie)
   •     San Francisco Police Code§ 169 (s idewalk encampments)
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Members are reminded to activate their Body Worn Cameras (BWC) in accordance with DGO
l 0.1 I.
What Can Members Enforce Against Homeless Individuals?

Members may enforce all other applicable criminal laws, as appropriate, regardless of whether
the individual is voluntarily or involuntarily homelessness.

Under the injunction, members may still ask involuntarily homeless individuals to relocate
voluntarily, so long as the City's request is not accompanied with a threat of enforcement of any
of the five laws listed above. If members order involuntarily homeless individuals to move, that
request must have a legal basis besides those laws listed above.

Members are reminded that they may enforce or threaten to enforce the following laws
regardless of whether the individual is involuntarily or voluntarily homeless:

    •    Cal. Penal Code§ 647c (prohibiting "willfully and maliciously obstruct[ing] the free
         movement of any person on any street, sidewalk, or other public place or on or in any
         place open to the public";)
    •    S.F. Police Code §§ 22-24 (prohibiting "willfully and substantially obstruct[ing] the free
         passage of any person or persons on any street, sidewalk, passageway or other public
         place")
    •    S.F. Police Code§§ 25-27 (prohibiting "willfully remain[ing] upon any private property
         or business premises after being notified by the owner, lessee, or other person in charge
         thereof to leave" or entering upon private property or business premises "without
         permission, expressed or implied, of the owner, lessee, or other person in charge of
         private property or business premises ... after having been notified by the owner, lessee,
         or other person in charge thereof to keep off or to keep away therefrom").

The injunction does not restrict enforcement for conduct other than sitting, lying, or sleeping.
For example, if an individual is obstructing access to a public facility or not allowing a 48" wide
path of travel on a public sidewalk, the injunction still allows members to require the individual
remove the obstruction. Members should avoid requiring the individual to relocate any farther
than is necessary and appropriate to remove the obstruction.
Members can also continue to enforce nuisance laws, as long as they are separate and distinct
from sitting, lying, or sleeping on public property, such as when there is a need to clean
accumulated trash and debris around an encampment that creates a health hazard. If the sole
basis for asking individuals to move is for temporary cleaning of the public right of way,
members should make it clear ahead of time to those individuals that once the cleaning is
completed they may return to the same location. Members may ensure the safety of other City
agencies while they engage in their official duties, such as street cleaning and rely on Cal. Penal
Code 148(a) for enforcement.
The injunction does not limit members' enforcement of laws against people blocking or
trespassing onto private property. If members enforce encampments blocking private entrances

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or fire routes/escapes, depending upon the situation (i.e. unoccupied building), members may
consider obtaining a signed citizen's arrest form (SFPD 80).
If members take enforcement action against involuntarily homeless individuals for reasons
other than sitting, lying, or sleeping on public property, members shall document the reasons in
the incident report.

The below only applies to HSOC or "70 Unit" Homeless Outreach Officer Assignments.

Members may enforce or threaten to enforce the five enjoined laws li sted above against an
individual who is voluntarily homeless, subject to the enforcement procedure below.

Determining if an individual is voluntarily or involuntarily homeless:

Members shall assume all individuals are involuntarily homeless until the member has
confirmation that the individual (I) declined a specific offer of available shelter and that offer
remains open to the individual at the time of enforcement; (2) otherwise has access to such
shelter; or (3) the means to obtain it.

   •    All offers of shelter shall come from Healthy Streets Operations Center Homeless
        Outreach workers or in coordination with them. Members shall call the DEM/HSOC
        Dispatch Supervisor at                    which is available from 7:00am to 7:00pm,
        Monday through Sunday, to obtain availability of shelter space. If during the call it is
        determined that the individual already has shelter, the member does not have to offer
        shelter and the individual can be deemed voluntarily homeless.
   •    If the member confirms a shelter space is available for the individual, the member should
        allow the individual a reasonable amount ohime (at least 15 minutes) to accept or reject
        the offer of shelter, considering any special needs the individuals may have.
   •    If an individual accepts the shelter, members will refer the individual and provide the
        address and direction to the shelter. The shelter will allow the individual to bring the
        equivalent of two large trash bags and a backpack (or personal item in similar size) of
        belongings.
   •    The individual accepting shelter may ask members to request the Department of Public
        Works (DPW) to respond to the scene and bag and tag any remaining property. IfDPW bag
        and tags any property, DPW will provide the individual a property receipt in duplicate.
   •    Members may request DPW to the scene to assist with cleanup of any remaining items.
   •    The member may treat that individual as voluntarily homeless if the individual fails to
        accept the offer in the allotted time frame.
   •    If the individual discloses to a member that the individual has shelter space or otherwise
        has access to shelter, the member may accept that assertion and deem the person as
        voluntarily homeless.
Enforcement Procedure

Prior to taking any enforcement action, members shall contact the lieutenant of HSOC and obtain
approval.
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If the member provides an admonishment, or issues an infraction citation the member
should:

     l . Document the admonishment or infraction citation in the CAD or
    2. Prepare an incident report regarding the admonishment or citation and document how the
         individual was determined to be voluntarily homeless and attach photographs of the
         encampment.
If the member issues a misdemeanor citation or makes a custodial arrest, the member
shall:
     l . Take photographs of the encampment.
    2. If the individual is cited for 647(e) (illegal lodging), members shall request DPW to
         respond and seize the tent as evidence. DPW will provide the individual a property
         receipt in duplicate.
    3. If the individual is placed under custodial arrest, members shall request DPW to bag and
         tag the encampment. DPW will provide the individual a property receipt in duplicate.
         (Refer to DN 20-167 Bag and Tag and DGO 6.15 Property Processing).
    4. Prepare an incident report that articulates how the individual was determined to be
         voluntarily homeless, the factual circumstances surrounding the enforcement action, the
         DEM/HSOC Dispatch Supervisor's name, and confirmation of approval from the HSOC
         lieutenant.
    5. Document in the incident report any enforcement or threat of enforcement of the five
         enjoined laws.

IMPORTANT NOTES REGARDING THE ENFORCEMENT OF SECTION 647(e) -Illegal
Lodging:

Officers may only enforce Section 647(e) if the individual has erected a tent, tarp, or other
structure. Officers must identify and document the specific elements of "lodging" in the incident
report.

For contact information and additional resources, members should refer to the Homeless
Resources Guide (SFPD 507).



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                                                       WILLIAM SCOTT
                                                       Chief of Police
Per DN 23-152, all sworn & non-sworn members shall electronically acknowledge this department
document in PowerDMS within (30) thirty calendar days ofissuance. Members whose duties are relevant
to this document shall be held responsible/or compliance. Any questions regarding this policy should be
sent to sfpd. writtendirectives@sfgov.org who will provide additional information.




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                   NNG?5B7G8<EÿOB9ÿP5:34>ÿF48ÿ4BEÿI559ÿ1<55=:9Hÿ:9ÿA7893ÿ8Aÿ345
                   PB<H75591ÿP5E951EB?ÿ9:H43ÿ95B7ÿQ34ÿL37553>ÿ35<<1ÿ345ÿ64789:;<5>
                   RS45ÿ=8<:;5>ÿ15;D7:3?ÿHDB7E1>ÿ34815ÿ137553ÿBCIB11BE871ÿTÿ5U57?895
                   38<EÿC5ÿ@H53ÿ8D3ÿ8Aÿ4575@ÿ34:1ÿC879:9HÿF459ÿVÿF8K5ÿD=ÿB78D9EÿWÿBMCMR
                   X7B9;:1ÿYBC87B>ÿ1=8K51=57189ÿA87ÿ345ÿZ5=B73C593ÿ8Aÿ[C57H59;?
                   JB9BH5C593>ÿ35<<1ÿ345ÿ64789:;<5ÿ34B3ÿLB9ÿX7B9;:1;8\1ÿ6887E:9B35E
                   L37553ÿ]51=8915ÿ^78H7BCÿ1=7B9Hÿ:938ÿB;3:89ÿ1:C:<B7<?ÿA87ÿ^7:E5ÿ:9
                   OD95ÿB9EÿA87ÿX<553ÿP55Kÿ<B13ÿAB<<Mÿ_D3>ÿYBC87Bÿ1B?1>ÿRF5\75ÿH<BE
                   =58=<5ÿB75ÿ3BK:9Hÿ983:;5ÿ8Aÿ345ÿ:9U513C5931ÿ345ÿ6:3?ÿ4B1ÿCBE5ÿ8U57
                   345ÿ?5B71ÿ38ÿB11:13ÿ=58=<5ÿ:9ÿ;7:1:1ÿB9EÿBEE7511ÿ137553ÿ;89E:3:891MR
                   `abcdefghijÿZ75BCA87;5ÿ077:U51ÿSD51EB?>ÿ_7:9H:9Hÿ65<5I7:3:51>
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    Mayor's State of the City 2024
    Video transcript




    Transcript is from speaker's notes and may differ from what's said on the video.

    Welcome to San Francisco's :James R. Herman cruise terminal at Pier 27,

    the first stop for almost 300,000 people who come here every year from around the
    world to our beautiful city.

    I want to tell you about another jewel of the San Francisco Port that just celebrated 125
    years, the San Francisco Ferry Building.

    In the 19th Century, commuters and visitors traveled by train or ferry, or both.

    So a ferry terminal on the waterfront, right downtown, was a practical necessity.

    It was the SF0 of its day, the Grand Central Station.

    But, as we so often do, San Francisco built a practical space of world-class beauty, with
    a 245 foot clocktower, a long, arched arcade, and an interior worthy of a Renaissance
    cathedral.

    At the foot of Market Street, a beautiful bridge from water to land, the Ferry Building
    announced to every commuter, every traveler:

    This is San Francisco. You have arrived.


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    Until, that is, the late 1930s, when two new bridges-the Bay and Golden Gate-and the
    rise of the automobile, made the Ferry Building seem outdated and unwanted.

    Soon the grand interior was converted into drab cubicles.

    And then, in an act of urban planning catastrophe that only the 1950s could spawn, a
    double-decker freeway rose in the Ferry Building's front yard, slicing it from the city it
    served.

    For decades, this great landmark was an isolated, nearly forgotten, crumbling shell of its
    former glory.

    No one went there.

    No one bet on its future.

    Its time had passed.

    But then the freeway came down.

    And the city created a new, walkable, grand Embarcadero with the Giants on one end,
    and a restored Ferry Building at the center.

    With patience, smart planning, investment, and time, San Francisco turned a discarded
    transit hub back into a global icon, "a famous city's most famous landmark" as Herb Caen
    called it.

    Today, the Ferry Building hosts shops, artisans, restaurants, farmers markets, ferries,
    and thousands of tourists and locals.

    And just a few months ago, during APEC it hosted leaders from around the world.

    This one building at the heart of Downtown says a lot about our Downtown, and about
    our city.

    First, beautiful places, world-class, desirable places never stay forgotten for long.

    Second, our local government, with the right vision and right investment, can spark
    monumental turnarounds.

    Third, and most important, never EVER bet against San Francisco.

    We never stay down for long.



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    We have faced incredible challenges in the past five years: two unparalleled health crises
    -one in the form of Covid, the other Fentanyl-and a national reckoning on policing and
    public safety.

    I know some people inside and out of San Francisco feel these challenges have
    overwhelmed us.

    I don't begrudge people's frustration.

    I don't dispute these have been a tough five years.

    But rather than destroying our city, these storms have revealed our strength, our
    indomitable spirit, and our service to each other.

    I believe the past is a precursor to our rise.

    This is the Year of the Dragon.

    And we will soar again.

    We all know the story.

    Shortly after I took office, we began to hear disquieting reports of a new and deadly virus.

    Soon enough, Covid 19 would upend the world.

    San Francisco declared an emergency in February of 2020, and then with our partners
    around the Bay, issued the first shutdown order in the country.

    My Administration then:

    Marshaled the Departments of Emergency Management, Public Health, and staff from
    throughout city government to mobilize and turn our convention center into a C0VID
    command center.

    We cut through the bureaucratic red tape to set up testing sites, community hubs, and
    vaccination sites around the city.

    City workers fanned out to tend to our most vulnerable residents.

    And as nursing homes across the country saw ballooning death rates, we protected our
    seniors, at Laguna Honda and elsewhere.

    We were one of the first cities in the country to reach an 80% vaccination rate.

    And as deaths climbed across the US and around the world,
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    San Francisco saw the lowest Covid death rate of any large city in the country.

    People want to say our civic government is dysfunctional. We can't collaborate, can't get
    the hard things done.

    Tell that to the thousands of San Franciscans who are alive today because of the work
    we did.

    Our city faced a storm unlike any seen in a hundred years, and through hard work,
    collaboration, ingenuity, and the simple decency of our people, we orchestrated the most
    successful response in the country.

    As Covid waned and vaccinations rose, we entered what I consider the second phase of
    my tenure: the recovery.

    The pandemic had led to a massive shift in how our economy functions, almost
    overnight.

    "Work from home" exposed a weakness in the economy of big cities - especially tech-
    forward San Francisco-

    We were too dependent on fields that CAN work from home.

    Our downtown had never been designed as a neighborhood with many homes and
    round-the-clock residents.

    Downtown was office - and office was hit hard.

    Simultaneously, the pandemic had constrained our efforts to house the homeless.

    Then, the murder of George Floyd, and the ensuing national reckoning, devastated police
    recruitment and staffing here in San Francisco and around the country, even as they
    brought to light the systemic racism many of us have known for far too long.

    The Department of Justice has called the police staffing shortage a national "crisis."

    These are national challenges, exacerbated by local conditions.

    So what'd we do?

    We got to work.

    On public safety,



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    We diverted non-emergency 911 calls to free up officers while providing better overall
    responses for those struggling on our streets.

    I appointed a former hate crimes prosecutor as our new District Attorney, and Brooke
    ::Jenkins began prosecuting crimes!

    We launched retail theft blitz operations.

    We used bait cars and plainclothes officers to disrupt auto break-ins.

    To shut down drug markets in the Tenderloin and South of Market, we coordinated every
    public safety agency you can name - local, state, and federal.

    Sheriff Paul Miyamoto deployed deputies to conduct warrant sweeps.

    I appealed to Governor Newsom, and he stepped up by sending the California Highway
    Patrol and National Guard investigators.

    President Biden and Speaker Emerita Nancy Pelosi delivered the US Attorney and Drug
    Enforcement Agency to interrupt the sale and trafficking of fentanyl.

    And these efforts have paid off.

    We doubled the number of drug arrests in 2023.

    Retail theft and car break-ins plummeted.

    Our homicide arrest rate was 85% in 2023 - 25 points higher than the national average.

    And now our crime rate is the lowest it's been in 10 YEARS!

    Yes, these figures are accurate.

    They coincide directly with the arrival of CHP, National Guard, US Attorney's Office, DEA,
    stepped up SFPD stings, and DA ::Jenkins' increase in prosecutions.

    Now, I do recognize that some people don't FEEL the lower crime rate yet.

    And if you, or someone you know, is the victim of crime, all the stats in the world don't
    matter.

    I understand that, and I hear your concerns.

    That's exactly why we're not letting up.



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    We will roll out 400 automated license plate cameras at 100 intersections across the city
    this month.

    Thanks to voters for approving Proposition E on Tuesday, we will be:

    Installing new Public Safety Cameras in high-crime areas;

    Deploying Drones for auto thefts, car break-ins, and other crimes; and Changing Police
    Department rules so our sworn officers are out in the field, not behind a desk.

    And, yes, we are adding more police officers.

    Thanks to our efforts, San Francisco is now the best-paid major city in the region for
    starting police officers.

    Retention is improving. Officers are transferring here.

    We have the most Police Academy applicants in more than 5 years.

    And the next Academy class will be the largest since before the pandemic, with 50
    cadets.

    With all of that, we will add 200 more officers in the next year, and get to full police
    staffing in three years.

    At the same time, we are not sacrificing our reform work.

    The San Francisco Police Department is on track to reach all 272 Department of Justice
    reforms by April of this year.

    Thank you to those who led these efforts, including our Police Chief Bill Scott.

    Of course, we can't talk about public safety without talking about our other health crisis:
    fentanyl.

    This is a national tragedy happening in cities large and small, areas urban and rural. It's
    awful and it's heartbreaking.

    And while I am stepping up enforcement of our laws - because that's what our residents
    deserve and that's what our city needs - I remain absolutely committed to saving lives.

    Our approach is about Accountability, Resources, and New Pathways.

    This means arresting and prosecuting dealers, and when necessary, arresting users who
    are a danger to themselves.

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    It means expanding existing treatment options and creating new ones, like abstinence-
    based treatment.

    Yes, offering people services is critical, but, frankly, we must compel some people into
    treatment.

    We will have an additional tool to do so thanks to the voters who passed Proposition F on
    Tuesday.

    And I have directed the Human Services Agency to create an action plan for Prop F's
    implementation.

    If we can provide cash assistance to more than 5,000 people, then we can screen
    recipients for substance use disorder and get them into treatment.

    And we have the services they need, including 15 free clinics across San Francisco that
    can administer buprenorphine on Day 1.

    We are delivering on our goal of adding 400 new treatment beds.

    And if Governor Newsom's Prop 1 passes, we have a real opportunity to add hundreds
    more.

    We're not waiting.

    We're doing the work now, with Supervisor Rafael Mandelman, so when the state opens
    the pipeline for new beds, San Francisco is first in line.

    That brings me to homelessness, which also remains a key focus of our recovery.

    Since I've been Mayor, we've helped over 15,000 individuals exit homelessness.

    We were the only county in the Bay Area to see unsheltered homelessness go down in
    the last Point in Time count cycle.

    We did it by increasing our shelter capacity by 66%,

    And increasing housing for the formerly homeless by 50%.

    My Office of Innovation, funded by Bloomberg Philanthropies, is developing new
    accountability tools to better coordinate data, track the outcomes and hold non-profits
    we fund accountable.

    Our encampment teams are bringing people indoors and bringing down the tents ...


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    despite attempts by the courts, and by some advocates, to obstruct our efforts- which
    City Attorney David Chiu has fought hard,

    We've helped more than 1,500 people into shelter from encampments just last year
    alone.

    The number of tents on our streets is down 37% in the last six months - at the lowest
    levels its been since before 2018.

    The other day a gentleman asked me,

    "How can we help so many homeless people but still have thousands more?"

    Well, we know people fall into homelessness for many reasons, and that we have
    programs preventing homelessness for San Franciscans every day.

    But we also know, we keep housing people, and people keep coming here from other
    places.

    The advocates, and some elected officials, want you to believe San Francisco is not a
    destination.

    They want you to believe people don't come here for drugs or other reasons.

    We all know that's not true.

    Of those arrested for public drug use in the Tenderloin and South of Market over the last
    year, only half were San Francisco residents. HALF.

    I've had enough of it. And the voters clearly have too.

    So we are not letting up.

    We are continuing to add new housing, and new shelters.

    We are setting a new goal of 1000 people a year for Homeward Bound, the program that
    provides unhoused people a ticket back to their home city.

    And we have a new tool for those struggling with mental illness and addiction.

    For decades state law has prevented us from compelling them into treatment, even
    when their families begged us to do so.

    The people who are truly suffering ... you see them walking into traffic, or screaming at
    nothing in particular ... the people who desperately need help ...

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    I have fought to change our state conservatorship laws for years, and finally we
    succeeded.

    Now, we are implementing the changes faster than any other county in the state.

    So far this year we've increased the number of people submitted for conservatorship by
    170% compared to last year.

    That is how we make change. That is how we save lives.

    And, of course, there's the pandemic-related issue felt most acutely here in
    San Francisco -

    our downtown recovery.

    I have always believed we need to start with a question, and it's not:

    "How do we make downtown the way it was?"

    but rather...

    "What do we want our downtown of the future to be?"

    In 2022 and 2023, we worked with trade groups, business owners, builders, neighbors,
    and city departments to create the Roadmap to Downtown San Francisco's Future, a
    comprehensive plan for a dynamic, resilient Downtown with residents, nightlife, and
    businesses, a neighborhood that keeps going around the clock - Downtown 24/7.

    The first year of our Roadmap focused on stabilizing: filling storefronts through our
    Vacant to Vibrant program, creating attractions, and delivering tax incentives.

    We are recruiting new business and continuing to see new leases signed - led by Al,
    which alone is projected to add 12 million square feet of office space by 2030.

    And it won't be Al alone.

    This is one of the most beautiful urban environments in the world, with an unrivaled pool
    of talent, of builders and dreamers, and the largest collection of deployable capital in the
    country.

    But Downtown can't just be about jobs.

    We also need more people to live and study here.



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    So our new initiative: 30 by 30 - 30,000 more residents and students downtown by
    2030.

    To do that, first we need to create more housing downtown.

    We've already passed local laws to remove and reduce fees and barriers for office
    conversions.

    Our first office conversion is actually happening now - 34 new homes at the Warfield
    building that would not be happening if we hadn't stepped in.

    And more are coming.

    Now, we are working on state law changes with Senator Scott Wiener to spur
    conversions and speed up housing production Downtown.

    So that's housing - but 30 by 30 is also about bringing in students. A lot of them.

    We are working with thought leaders, business folks, and educational institutions to
    make Downtown a hub, a Center of Excellence.

    We've invited the University of California and Historically Black Colleges & Universities to
    join us, and some are coming as early as this summer.

    We're working with other universities, and our existing anchors, UC Law, USF and
    San Francisco State University.

    Imagine that!

    Students, professors, researchers, and employees walking from dorm room to
    classroom, from startup to conference space, from the Ferry Building to City Hall ...
    cross-pollinating ideas, cross-pollinating companies.

    We will be leading the way in Al, climate tech and biotech and things we haven't even yet
    imagined.

    Housing, students, innovation - that's our future!

    Tearing out the bike lanes on Market Street - going backwards - will not move us
    forward, and it won't magically revive Downtown,

    But 30,000 more people living and going to school Downtown will.

    Downtown has always been the economic engine that funds the services we care about.


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    And its post-pandemic difficulties are the driving reason for the deficit we face this year,
    we no longer have the luxury to penalize, we need to incentivize

    So let me make two things clear:

    One: the Board of Supervisors and I will close this deficit.

    And we will NOT weaken our public safety to do so.

    Two: I have a clear vision for Downtown's future and my administration will make it
    happen.

    Our vision of Downtown is a vibrant, mixed-use neighborhood with transit, bars,
    restaurants and venues where people live, work, study, and play.

    We are through the valley of Covid.

    We've endured the slings and arrows of its recovery.

    AND NOW WE RISE.

    On housing, we are changing our reputation as the city of "No" to the city of yes!

    yes to Reducing fees,

    yes to Eliminating barriers,

    And yes to any idea that overcomes obstruction,

    And builds the new homes we desperately need.

    Though there is one housing "No" I will commit to - any piece of anti-housing legislation
    that comes across my desk, I will veto.

    Every single one.

    We have a state mandate to meet - so let's ...

    Build out projects like the Power Station, where we broke ground last year, and Treasure
    Island, where just this week we re-launched a new phase of housing.

    Let's work with our Land Use Chair Supervisor Myrna Melgar to keep advancing pro-
    housing laws through the Board, and let's bring 30,000 residents and students to
    Downtown.

    If we do that, more people in more neighborhoods will be able to afford to live here.
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    San Francisco will remain the city of yes, for our children, and their children.

    And it's not just a vision - our work is delivering change.

    Crime is at record lows.

    San Francisco is the Al capital of the world, the birthplace of the next economic boom.

    The LA Times reports that in 2022, San Francisco venture firms raised five times as much
    funding as all the companies in Florida and Texas COMBINED.

    Our small business reforms, like First Year Free championed by Supervisor Hillary Ronen,
    are filling storefronts across the city.

    We are a national leader in early childcare and education:

    Doubling the number of kids getting care and subsidies since 2018,

    And paying our educators a real wage that recognizes them for the work they do.

    We just hosted leaders from around the world for APEC, the biggest global stage for
    San Francisco since the signing of the United Nations Charter in 1945.

    Our parks are the best in the world, and we've massively expanded outdoor public areas,
    from JFK Drive to India Basin coming to our southern waterfront.

    Muni is leading the Bay Area's transit recovery, carrying more riders than all the other
    regional transit operators combined.

    We are on pace to hit our goal of zero greenhouse gas emissions by 2040.

    We are launching a WNBA franchise, hosting the NBA All-Star Game, the Super Bowl, and
    the FIFA World Cup.

    I envision a San Francisco of walkable, safe, thriving neighborhoods with great schools
    and a strong economy, where people get the help they need and where everyone is
    welcome.

    I want to thank the voters for supporting this vision on Tuesday, by backing Propositions
    A, C, E, F, and G-and the strong rejection of Prop. B.

    Thank you, Supervisors Joel Engardio and Matt Dorsey, for your work on algebra and
    police staffing.



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    Congratulations to Scott Wiener, Matt Haney, and Catherine Stefani on your impressive
    victories.

    As well as to all those newcomers who bravely stepped forward to run for County
    Committee.

    And let me say something to those in the press claiming Tuesday's election means
    "San Francisco is not a progressive city anymore."

    Building homes and adding treatment beds is progressive.

    Wanting good public education and an effective police force-valuing the safety of our
    seniors in Chinatown and the Bayview, our immigrant and working families in the
    Tenderloin -is progressive.

    We are a progressive, diverse city-living together, celebrating each other:

    LGBTQ, AAPI, Black, Latino, Palestinian and Jewish,

    That has not changed and it will not change.

    So, I don't know about you, but I am tired of the negativity.

    I'm tired of the people who talk about San Francisco as if our troubles are inevitable and
    our successes a fluke.

    Our successes are not a fluke, and they're not fleeting.

    They're the product of years of hard work, collaboration, investment, creativity, and
    perseverance.

    They're the output of thousands of people, in government and out, who believe in service
    not cynicism.

    So I want to say something to those-inside San Francisco and out-who traffic in
    negativity to sell ads, to advance right wing causes, to tear others down, or simply to
    stoke fear for their political convenience.

    I want to say this on behalf of the real people you have been disparaging.

    On behalf of the nurses, gardeners, janitors, counselors and commissioners, engineers
    and emergency workers, teachers and transit operators who dedicate themselves to our
    city;



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    On behalf of our firefighters, 911 dispatchers, sheriff's deputies and police officers who do
    lifesaving work under difficult circumstances;

    On behalf of the startup founders and engineers who are reimagining our local economy,

    On behalf of the small business owners, the bartenders, and artists,

    On behalf of the women here, who let women everywhere know that we trust them to
    make their own decisions, and offer them safe haven when they do;

    On behalf of the YIMBY housing advocates who started a movement here that has taken
    root around the country,

    On behalf of the transgender activists and their families-chosen or otherwise-who've
    made San Francisco an outpost of hope in a country of worrying hate;

    On behalf of the city I've called home my entire life, which I am proud to serve every
    single day

    I offer these words from our 26th president, Teddy Roosevelt.

    "It is not the critic who counts; not the man who points out how the strong woman
    stumbles, or where the doer of deeds could have done them better.

    The credit belongs to the woman who is actually in the arena who strives valiantly; who
    spends herself in a worthy cause."

    To those outside the arena watching from the sidelines who offer only criticism.

    I have a message for you, San Francisco is not wearing the shackles of your negativity
    any longer.

    To the public servants who've been here during the city's most difficult time, doing the
    work all along, thank you.

    We will continue to move our city forward to a city of yes!

    No longer will we allow others to define who we are. Because we know who we are.

    We are a city on the rise.

    We are a dragon taking flight.

    Now let's soar San Francisco, Let's Soar!


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SAN FRANCISCO
HOMELESS COUNT AND
SURVEY
2022 COMPREHENSIVE REPORT
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ABOUT THE RESEARCHER
Applied Survey Research (ASR) is a social research firm dedicated to helping people build better
communities by collecting meaningful data, facilitating information-based planning, and developing
custom strategies. The firm was founded on the principle that community improvement, initiative
sustainability, and program success are closely tied to assessment needs, evaluation of community
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                        2022 POINT IN TIME COUNT: LOCAL CONTEXT



Every two years, the U.S. Department of Housing and Urban Development (HUD) requires that all
communities receiving federal funding for homeless services conduct a Point-in-Time (PIT) Count of
people experiencing homelessness. The PIT Count is the primary source of nationwide data on
homelessness and identifies people living in unsheltered and sheltered settings.

The PIT Count provides a critical snapshot of people experiencing homelessness in our community and is
useful for measuring trends over time. Additionally, the PIT Count Increases our understanding of local
needs, impacts funding for homeless services and meets federal reporting requirements, and informs
program and policy decisions. While this report is critical, it does not take into account the changes,
investments, and innovations happening locally. HSH has drafted this forward to share some of the local
context that has impacted the findings of the 2022 PIT Count and the changes we have seen since the
last count in 2019.

The increasing housing affordability challenges and growing economic inequality in the Bay Area, along
with other factors, have led to consistently high levels of homelessness in San Francisco over the last
decade. The severe lack of affordable housing and sharp increases in rent continue to push more people
into homelessness each year because housing costs have rapidly outpaced wage growth. One study
found that residents of San Francisco’s metropolitan area must earn an hourly wage of $61.50, the
equivalent of 4.1 full-time jobs at minimum wage, to afford a two-bedroom fair market rent apartment.1
San Francisco also faces a severe shortage of affordable housing, with only 33 affordable and available
rental units per 100 extremely low-income households.2 A history of structural racism and housing
discrimination has disparately impacted People of Color, resulting in significant over-representation in
people experiencing homelessness. To address this crisis, San Francisco has nearly tripled the budget of
the Department of Homelessness and Supportive Housing (HSH) since its founding in 2016 to support
significant program growth and reduce disparities.

Since the 2019 PIT Count, HSH has focused on equitably expanding homelessness services. The
Department’s service expansion has primarily relied on the influx of local dollars from the Our City, Our
Home (OCOH) Fund which San Francisco voters created in 2018 through the Proposition C ballot
measure. OCOH funds became available for the City to spend in fiscal year 2020-21. In fiscal year 2021-
22, OCOH funds comprised $299 million of HSH’s $667 million budget. In fiscal years 2022-23 and 2023-
24, HSH anticipates that OCOH will fund over a third of the Department’s budget.

The COVID-19 pandemic has only exacerbated existing challenges for the City’s unhoused people and
low-income populations at risk of homelessness. However, the Mayor’s Homelessness Recovery Plan has

1
  National Low Income Housing Coalition. (2022). Out of Reach: The High Cost of Housing. Retrieved from
https://nlihc.org/oor
2
  National Low Income Housing Coalition. (2021). The Gap: A Shortage of Affordable Rental Homes. Retrieved from
https://nlihc.org/gap
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guided the City’s response to COVID-19 to meet the needs of the most vulnerable residents. The Plan
has leveraged the new OCOH, state and federal funding for an unprecedented increase in housing,
shelter and homelessness prevention resources. The decreases in the 2022 PIT Count – 3.5% in overall
homelessness and 15% in unsheltered homelessness - show the initial returns of the City’s investments
in these resources.

Exits from Homelessness

Between the 2019 and 2022 Point-in-Time Counts, HSH helped more people than ever before in a three-
year window exit homelessness through housing, prevention, or reunification with support systems.
Over 8,000 households exited homelessness from January 2019 to January 2022 through Permanent
Supportive Housing, Rapid Rehousing, Prevention and Problem Solving interventions (including
relocation assistance).

However, HSH’s placements to housing have not been able to keep pace with inflow of people who
become newly homeless or return to homelessness throughout the year. HSH estimates that while 7,754
homeless individuals were observed on the night of the PIT Count, as many as 20,000iindividuals may
experience homelessness in San Francisco over the course of a full year. Analysis of these figures suggest
that for every household San Francisco is able to permanently house through its Homelessness
Response System, approximately four households become homeless. When the need exceeds available
local resources, households unable to resolve homelessness on their own may need to leave San
Francisco or remain homeless for long periods of time.




                    A SYSTEMIC RESPONSE TO REDUCE HOMELESSNESS
The City launched the Department of Homelessness and Supportive Housing (HSH) in 2016 to coordinate
a systemic response to homelessness. In partnership with people experiencing homelessness, services

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providers, and community partners, the Department shelters and houses over 15,000 homeless and
formerly homeless people each day through the Homelessness Response System.

Advancing Equity and Reducing Disparities

People of Color experience homelessness at disproportionately high rates as a result of historical and
structural racism and failed policies across many systems, including discrimination in housing, health,
education, employment, and criminal justice.

HSH and its community partners continue to become more intentional in advancing equity across the
Homelessness Response System for overrepresented and underserved populations and to both ensure
that homeless programs and systems are not contributing to disparate outcomes by race, ethnicity,
sexual orientation, or gender identity and are reducing disparities by establishing goals focused on
advancing equity.

To guide the City’s homelessness response with a focus on equity, HSH hired the Department’s first
Chief Equity Officer and published its first HSH Racial Equity Action Plan in 2021. The Department has
taken various other steps in 2022 to help ensure equity is a central factor in our decision-making and
programming, including:

    •    Developing equity goals and setting benchmarks to reduce disparities as part of the
         Department’s process of developing a city-wide five-year strategic plan to respond to
         homelessness in San Francisco;
    •    Engaging people with lived experience of homelessness, particularly people who are over-
         represented and underserved, in the design and evaluation of programs and systems;
    •    Engaging with a BIPOC provider working group; and
    •    Focusing on data reporting that provides insight on the demographics of the populations HSH
         serves, including publishing a dashboard on the demographics of Coordinated Entry and the
         housing process.

Since 2019, the Department has started several initiatives to improve equity in the Homelessness
Response System. These projects include:

    •    Targeted scattered-site investments to provide permanent housing to people experiencing
         homelessness in Bayview Hunters Point, a neighborhood that has been historically marginalized
         and underserved and has high rates of homelessness among Black or African-American people;
    •    Administration of Emergency Housing Vouchers, over 40% of which were targeted to people
         who are experiencing homelessness in Bayview Hunters Point;
    •    A new Access Point focused on the Latinx community opening in the Mission District in fiscal
         year 2022-23;
    •    The new Taimon Booton Navigation Center, focused on serving the transgender and gender
         non-conforming community;
    •    An investment of significant resources in fiscal years 2022-23 and 2023-24 to advance the goal
         of ending transgender homelessness; and
    •    Securing a housing demonstration grant focused on reducing racial disparities in the justice and
         homelessness systems.


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The Homelessness Response System

There are six core components of the City’s Homelessness Response System: Outreach, Coordinated
Entry, Problem Solving and Prevention, Temporary Shelter, Housing, and Housing Ladder. These
components are aligned to solve homelessness for people in need in an equitable way. The system’s
goal is to makes homelessness rare, brief, and one-time. Since 2019, HSH has expanded services in each
of the core components of the Department’s work.

Outreach

The San Francisco Homeless Outreach Team (SFHOT) connects the most vulnerable individuals living
outside with available and appropriate resources within the Homelessness Response System through
outreach, engagement, and case management.

Over the past two years, the City has launched new Street Response Teams that work with paramedics,
clinicians, and people with lived experience to address behavioral health, overdoses, or other urgent
needs of primarily unsheltered individuals in San Francisco. Street Response Teams are dispatched
through 911 and provide an alternative to police response. The teams engage and connect with the
most vulnerable people and provide them with coordinated care and centralized access to services.
Street Response Teams include:

    •    EMS-6
    •    Street Crisis Response Team
    •    Street Overdose Response Team
    •    Street Wellness Response Team

SFHOT is part of the Street Wellness Response Team, which responds to unhoused people in need of a
wellbeing check and connects them to available resources. Visit the Citywide Healthy Streets page for
more information on the Street Response Teams.

Coordinated Entry

Coordinated Entry (CE) is the foundation of San Francisco’s Homelessness Response System, serving as
the “front door” for connecting households experiencing homelessness to the resources needed to
resolve their housing crisis. Since the full launch of CE in 2019, CE has expanded to serve adults, families
and youth through 11 geographically diverse Access Points throughout the City.

Additionally, in 2019 HSH launched the Access Point Partner Program so partners in the public health
space could conduct Housing Primary Assessments in their existing settings and workflows. The Mental
Health SF team identified initial Access Partners as key stakeholders that could help improve the rate of
CE engagement with people with serious mental illnesses. These partners can leverage their existing skill
sets and relationships with that population to improve the accuracy of the Housing Primary Assessment
scores for that population. The San Francisco Homeless Outreach Team also serves as an Access
Partner.




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As part of HSH’s Strategic Planning process, the Department launched a Coordinated Entry Reform and
Evaluation process in 2022. This process examines the current CE framework and process through an
equity lens to determine what needs to be changed, added, or eliminated. HSH will develop
recommendations and strategies for a re-design of Coordinated Entry by November 2022. The
Department will also develop an ongoing implementation plan based on input from multiple stakeholder
groups, including nonprofit providers, clients, and City staff.

Problem Solving

Problem Solving provides opportunities to prevent people from entering the Homelessness Response
System, to help them exit the Homeless Response System quickly, and to redirect people who can
resolve their homelessness without the need for ongoing support.

Since 2019, the City has made significant investments in the expansion of Problem Solving services,
including flexible financial assistance, targeted homelessness prevention, and reunification. In fiscal year
2021-22, HSH helped approximately 800 households resolve their homelessness through Problem
Solving and over 600 households diverted through homelessness prevention.

Especially with the impact of COVID-19, targeted homelessness prevention has been a critical tool to
support households at imminent risk of homelessness to remain stably housed. HSH partnered with All
Home to launch a regional prevention collaboration. The Department also partnered with the Mayor’s
Office of Housing and Community Development (MOHCD) to launch a citywide Prevention System
during the height of the pandemic. In the spring of 2022, the City launched the Emergency Rental
Assistance Program (ERAP). This program will provide ongoing rental relief for households facing
imminent eviction following the sunset of state and federal rental relief programs stood up during the
pandemic. As of August 2022, HSH’s partners had disbursed $5.6 million to over 1,000 households
through the ERAP program.

Temporary Shelter

Shelter provides temporary places for people to stay while accessing other services to support a
permanent exit from homelessness. Since 2019, HSH has expanded its traditional shelter portfolio and
opened new program models. These changes were driven in part by the COVID-19 pandemic. At the
onset of the pandemic, congregate shelter capacity decreased by almost 70% due to public health
guidance. The City responded quickly by opening new non-congregate program models.

San Francisco’s shelter system capacity increased by 24% (a net increase of 829 beds) between the 2019
and 2022 PIT Counts, as reported in the Housing Inventory Count (HIC). This investment in resources
helped contribute to the 15% decline in unsheltered homelessness in the City.

Navigation Centers: This expansion included three new Navigation Centers, which are low-barrier
shelters that focus on connecting clients to housing resources. In 2021, HSH opened the first Navigation
Center to serve Transitional Age Youth and a new Navigation Center serving adults in the Bayview. In
April 2022, after the HIC Count, HSH opened the first Navigation Center dedicated to serving
transgender and gender non-conforming (TGNC) clients.

Shelter-in-Place (SIP) Hotels: As part of the response to COVID-19, the City leveraged state and federal
emergency funding to provide non-congregate shelter in hotels to over 3,700 guests. At the program’s

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peak, the SIP hotels provided 2,288 rooms across 25 hotel sites. The program includes onsite
wraparound services from the Department of Public Health and the Human Services Agency, such as
medical and behavioral health, in-home support services, and benefits enrollment. This combination of
services has helped many guests stabilize. The program began winding down in June 2021 and will end
in 2022.

While the initial intent of the SIP program was to provide a safe place for people experiencing
homelessness who were most vulnerable to the virus to shelter in place, the program provided a unique
opportunity for the city to permanently house some of the most vulnerable individuals from shelters
and the street. As of August 2022, HSH has transitioned over 1,200 guests from the SIP hotel program
into housing, and several hundred more will be permanently rehoused by the end of 2022.

Non- and Semi-Congregate Shelter: Drawing on the lessons of the SIP hotels, HSH has focused on
expanding non-congregate and semi-congregate shelter options. These shelter types are more
appropriate and attractive options for many unsheltered people.

At the time of the PIT Count, this expansion included:

    •    A non-congregate trailer program with 116 RV/trailers opened in the spring of 2020 as part of
         the COVID-19 response.
    •    A non-congregate cabin pilot program with 70 units.
    •    A new non-congregate family shelter with 59 units, including designated emergency units
         available 24/7 to families.
    •    Three hotel-based non-congregate emergency shelters providing approximately 300 units of
         shelter.

Two additional non- and semi-congregate shelter sites opened in the summer of 2022 providing
approximately 430 additional shelter beds. A second cabin site is in the planning phase as of summer
2022.

Safe Sleep and Vehicle Triage Centers: The City also added Safe Sleep and Vehicle Triage Centers to the
portfolio of available resources. These resources are considered unsheltered living situations per HUD’s
latest guidance and are not included in the Housing Inventory Count (HIC). However, they are valuable
resources to increase the overall capacity of HSH’s system of care and to provide options to populations
with unique needs.

    •    Vehicle Triage Centers provide a safe place for people to stay in their vehicles while accessing
         services. The 2022 PIT Count found 24% of unsheltered homeless individuals were observed
         sleeping in vehicles, and 8% of unsheltered survey respondents indicated sleeping in vehicles.
         There is a continued need for resources to serve this population of people who are unlikely to
         leave their vehicles to stay in more traditional shelter options while working toward a
         permanent exit to homelessness.

         To meet this need, HSH piloted a Vehicle Triage Center program from 2019 to 2021 that offered
         guests a safe place to stay in or store their vehicle while accessing services. Following the
         success of that pilot, HSH opened a second Vehicle Triage Center in a highly impacted area in



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         the Bayview in January 2022 with a total capacity of 130 spots. The Department is actively
         seeking a second site to serve the west side of the city.

    •    At Safe Sleep sites, people sleep in tents at a safe distance from each other at sites that are off
         the public sidewalk and offer services. The City stood up Safe Sleep sites as part of the initial
         response to the COVID-19 pandemic. During the height of the pandemic when shelter capacity
         decreased, these sites provided a safe, clean place for people to sleep and access services and
         sanitation. Safe Sleep can also be a good resource for people who are not yet ready to move
         inside. At the program’s peak, five sites operated with over 250 tent slots. As of August 2022,
         the City plans to maintain two sites with approximately 55 tent spaces.

Housing and Housing Ladder

Through the Mayor’s Homelessness Recovery Plan, San Francisco has invested in the largest expansion
of supportive housing in 20 years. Housing provides permanent solutions to homelessness through
subsidies and housing placements for adults, families and youth. HSH’s portfolio of affordable housing
includes:

    •    Permanent Supportive Housing (PSH): site-based and scattered-site permanently subsidized
         long-term housing with supportive services.
    •    Rapid Rehousing (RRH): time-limited rental assistance and services in scattered-site units.
    •    Housing Ladder: opportunities for tenants who have stabilized in supportive housing to move to
         subsidized housing inside or outside the Homelessness Response System with lower levels of
         support services.

Between the 2019 and 2022 Housing Inventory Counts, the City’s stock of active housing for people
experiencing homelessness expanded by 2,895 beds, a 25% increase. This increase includes 1,618 PSH
beds and 1,277 RRH beds.

Site-Based PSH: As part of the Mayor’s Homelessness Recovery Plan, HSH leased or acquired 2,918 units
of Permanent Supportive Housing since July 2020 that were under contract with a non-profit provider by
June 2022. An additional 274 units have also been approved for acquisition. Many of these units had not
yet opened at the time of the PIT and are not reflected in 2022 HIC.

Drawing on lessons from the Shelter-in-Place hotels, HSH is expanding partnerships with other agencies
like the Department of Public Health and the Human Services Agency at PSH programs. These agencies
provide wrap-around services like nursing and in-home support services (IHSS) with daily activities like
bathing and cooking. This additional support helps tenants in PSH remain stably housed.

Scattered-Site PSH: HSH has expanded scattered-site PSH to provide housing options for lower-acuity
households with geographic equity across the City. In 2020, the Department launched the Flexible
Housing Subsidy Pool. In this program, tenants use subsidies to live in private-market units that the City
has identified through partnerships with landlords and nonprofits. HSH is currently working to
implement over 1,700 units of FHSP. In 2021, San Francisco received 906 Emergency Housing Vouchers
(EHVs) from the federal government’s American Rescue Plan that HSH is distributing in partnership with
the San Francisco Housing Authority. The Department anticipate San Francisco will receive another
round of federally funded vouchers in 2022.

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Rapid Rehousing (RRH): By leveraging local tax subsidy (Prop C) funding, HSH has provided extensions
to RRH subsidies to give households more time to stabilize following the pandemic. HSH also increased
funding for the Transitional Age Youth (TAY) RRH program, the Rising Up campaign, that will serve 400
TAY. Building off the adult RRH program pilot, in FY21-22 HSH expanded the adult RRH program to serve
350 single adults.

Housing Ladder: Housing Ladder supports existing tenants of Permanent Supportive Housing to enter
the next chapter of their journey out of homelessness and opens units in the existing portfolio. Since the
2019 PIT Count, HSH opened a new Housing Ladder site that provides 59 units to adult households that
have stabilized and need less intensive support services to maintain their housing. Over the next two
fiscal years, HSH will serve at least 70 households with minor children through the new Family Housing
Ladder program.

Next Steps

The City plans to build on the progress made under HSH’s first Five-Year Strategic Framework and the
Mayor’s Homelessness Recovery Plan in our second Five-Year Strategic Framework that will be
published in December 2022. This framework will guide HSH, our nonprofit partners, and our city
partners as we work on addressing homelessness over the next five years.

Thank you to Applied Survey Research, our staff, the Local Homeless Coordinating Board and our
volunteers for their work on the 2022 Point in Time Count. This data will continue to inform our
strategies for preventing and ending homelessness in San Francisco.




i
 These figures are estimated based on analyses of administrative data in HSH’s Homeless Management
Information System (HMIS) and data aggregated by the San Francisco Department of Public Health, as well as
annual projections from the PIT Count and PIT Survey using methodology developed by CSH in their 2005
publication “Estimating the Need” (retrievable at www.csh.org/resources/estimating-the-need/) and subsequent
adjustments suggested by the Economic Roundtable in 2018’s “Estimating the Annual Size of the Homeless
Population in Los Angeles Using Point-In-Time Data” (retrievable at https://economicrt.org/publication/estimating-
the-annual-size-of-the-homeless-population/).

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ACKNOWLEDGEMENTS
The 2022 San Francisco Homeless Count and Survey planning team would like to thank the many
individuals and agencies who contributed to this project. The participation of outreach workers,
currently and formerly homeless individuals, and partner agencies was critical to the success of the
count. Over 150 outreach workers and people with lived experience of homelessness, City and County
employees, and local community-based organizations assisted with all aspects of the count, from the
initial planning meetings to the night of the count.
The San Francisco Local Homeless Coordinating Board (LHCB), the coordinating body for the San
Francisco Continuum of Care, provided oversight for the 2022 Homeless Count project. We thank the
members of the LHCB for their valued input and guidance. Meetings of the LHCB also served as a forum
for stakeholder and community input on the project.
Thank you to the many city and federal partners who supported the 2022 San Francisco Point-in-Time
Count, including:
•   SF Department of Homelessness and                    •    SF Human Services Agency
    Supportive Housing (HSH)
                                                         •    SF Police Department
•   U.S. Department of Housing and Urban
                                                         •    SF Recreation & Parks Department
    Development (HUD)
                                                         •    SF Municipal Transportation Agency
•   U.S. Department of Veterans Affairs (VA)
                                                         •    SF Office of Civic Engagement and
•   U.S. Interagency Council on Homelessness
                                                              Immigrant Affairs
    (USICH)
                                                         •    SF Public Utilities Commission
•   U.S. Park Police
                                                         •    SF Sheriff’s Department
•   California Highway Patrol
                                                         •    SF Unified School District
•   CalTrans
•   SF Department of Public Health


We thank Mayor London Breed and Shireen McSpadden, Executive Director of the Department of
Homelessness and Supportive Housing (HSH), for their leadership in this effort. We thank Supervisor
Connie Chan, Supervisor Shamann Walton, Supervisor Catherine Stefani, Supervisor Rafael Mandelman,
Supervisor Gordon Mar, Supervisor Hillary Ronen, SF Community College Board Member Thea Selby,
California Assemblymember Phil Ting, and representatives from Mayor London Breed’s office,
Supervisor Aaron Peskin’s office, Supervisor Dean Preston’s office, Supervisor Ahsa Safai’s office, Former
Supervisor Matt Haney’s office, California State Senator Scott Wiener’s office, U.S. Senator Alex Padilla’s
office, House Speaker Nancy Pelosi’s office, the Coalition on Homelessness, and All Home for
participating in the count.
We thank Larkin Street Youth Services, Third Street Youth Center and Clinic, and Buena Vista Horace
Mann K-8 Community School for providing use of their facilities as dispatch centers on the night of the
count.
We thank Five Keys Charter Schools and Programs, Homeless Youth Alliance, Larkin Street Youth
Services, San Francisco LGBT Community Center, and the Third Street Youth Center and Clinic who
assisted with the recruitment, training, and oversight of the youth count enumerators.

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We appreciate the following organizations that provided data for the shelter count:
Participating Organizations
3rd Street Youth Center & Clinic · Abode Services · Asian Women’s Resource Center · Asian Women’s
Shelter · At the Crossroads · Bayview Hunters Point Foundation for Community Improvement · Bayview
Hunters Point Multipurpose Senior Services · Bridge Housing · Brilliant Corners · Catholic Charities ·
Center on Juvenile and Criminal Justice · Chinatown Community Development Corporation · Chinese
Hospital · Community Forward SF · Community Housing Partnership · Compass Family Services · Conard
House · CPMC · Curry Senior Center · Dignity Health · Dolores Street Community Services · The Epiphany
Center · Episcopal Community Services · Federal Emergency Management Agency · First Place for Youth ·
Five Keys Charter Schools and Programs · Gene Friend Recreation Center · Glide Community Housing ·
GP/TODCO Inc. · Hamilton Families · HealthRIGHT 360 · Homeless Prenatal Program · Homeless Youth
Alliance · Homerise · Hospitality House · Huckleberry Youth Alliance · Kaiser Permanente · La Casa de Las
Madres · Larkin Street Youth Services · The Latino Commission · LGBT Center · Lutheran Social Services of
Northern California · Mary Elizabeth Inn · Mercy · Metropolitan Fresh Start House · Mission Housing
Development Corporation · North Beach Citizens · Openhouse · Phatt Chance Community Services · PRC
Baker Places · Progress Foundation · Providence Foundation · Rafiki Coalition for Health and Wellness ·
Raphael House · Reality House West · Recovery Survival Network · The Salvation Army · San Francisco
Housing Authority · San Francisco VA Health Care System · Sequoia Living · SF Department of Public
Health · SF HOT · SF SafeHouse · St. James Infirmary · St. Vincent de Paul Society of San Francisco · Sutter
Health · Swords to Plowshares · Tenderloin Housing Clinic · Tenderloin Neighborhood Development
Corporation · UCSF Citywide · UCSF Health · United Council of Human Services · Urban Alchemy ·
Westside Community Services · Zuckerberg San Francisco General Hospital
Teams of trained, current and formerly homeless surveyors administered surveys on the streets of San
Francisco and at various service locations. We thank them for their excellent work. We also thank Code
Tenderloin, Downtown Streets Team, Homeless Youth Alliance, and Larkin Street Youth Services for their
support in recruiting these surveyors.
Finally, we thank the staff of the Department of Homelessness and Supportive Housing (HSH) for
providing feedback and assistance throughout the project on many aspects, including project
methodology, survey development, participation in the count, data entry coordination, review of this
report, and the presentation of findings.




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INTRODUCTION
As required by the U.S. Department of Housing and Urban Development (HUD) of all receiving federal
funding to provide homeless services, Continuums of Care (CoC) across the country report the findings
of their local Point-in-Time (PIT) count in their annual funding application to HUD. Currently, the San
Francisco CoC receives approximately $51 million dollars annually in federal funding.
Significantly, this research effort in 2022 was conducted during the COVID-19 pandemic and is the first
full sheltered and unsheltered count since 2019. Like many communities, San Francisco sought an
exception from HUD to postpone the 2021 unsheltered PIT count until 2022 due to COVID-19 health and
safety concerns. In addition, the 2022 count took place at the end of February 2022 rather than the
standard requirement to conduct the count at the end of January 2022. San Francisco was granted
permission from HUD to postpone the count one month due to low staff capacity and public health
concerns resulting from the COVID-19 Omicron variant surge.
San Francisco has partnered with Applied Survey Research (ASR) to conduct its Point-in-Time Census
since 2009, maintaining a similar methodology to ensure as much consistency as possible from one year
to the next. ASR is a locally based social research firm that has over 23 years of experience in homeless
enumeration and needs assessment, having conducted homeless counts and surveys throughout
California and across the nation. Their work is featured as a best practice in the standard process HUD
publication, A Guide to Counting Unsheltered Homeless People, as well as in the Chapin Hall at the
University of Chicago publication, Conducting a Youth Count: A Toolkit.
Project Overview And Goals
In order for the 2022 San Francisco Point-in-Time Count and Survey to best reflect the experience and
expertise of the community, ASR held planning meetings with local community members. These
community members were drawn from City and County departments, community-based service
providers, and other interested and informed stakeholders. These individuals were instrumental to
ensuring the 2022 San Francisco Point-in-Time Count and Survey reflected the needs and concerns of
the community.
The 2022 San Francisco Homeless Count and Survey planning team identified several important project
goals:
•   To preserve current federal funding for homeless services and to enhance the ability to raise new
    funds;
•   To improve the ability of policy makers and service providers to plan and implement services that
    meet the needs of the local homeless population;
•   To measure changes in the numbers and characteristics of the homeless population and track the
    community’s progress toward ending homelessness;
•   To increase public awareness of overall homeless issues and generate support for constructive
    solutions;
•   To assess the status of specific subpopulations, including veterans, families, youth, young adults,
    and those who are chronically homeless; and
•   To conduct the PIT count in such a manner that the health and safety of all participants was a
    primary operational consideration and all County Public Health recommended practices were
    followed in field work associated with the PIT count.

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Federal Definition of Homelessness for Point-in-Time Counts
This study uses the HUD definition of homelessness for the Point-in-Time Count. This definition includes
individuals and families:
•   Living in a supervised publicly or privately operated shelter designated to provide temporary living
    arrangements (including congregate shelters, transitional housing, and hotels and motels paid for by
    charitable organizations or by federal, state, or local government programs for low-income
    individuals); or
•   With a primary nighttime residence that is a public or private place not designed for or ordinarily
    used as a regular sleeping accommodation for human beings, including a car, park, abandoned
    building, bus or train station, airport, or camping ground.
The City and County of San Francisco uses an expanded definition of homelessness which includes
persons who are “doubled-up” in the homes of family of friends; individuals staying in jails, hospitals, or
rehabilitation facilities; and families living in Single Room Occupancy (SRO) units. Historically, the City
has made an effort to include individuals in these living situations by surveying known jails, hospitals,
and rehabilitation facilities to identify individuals believed to otherwise be homeless; persons “doubled-
up” and families living in SROs have not been included due to the difficulty of reaching these populations
comprehensively and accurately. This data is included in Appendix B: Supplemental Point-in-Time Count
Data.




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POINT-IN-TIME COUNT
The 2022 San Francisco Point-in-Time Count and Survey represents a complete enumeration of all
sheltered and unsheltered persons experiencing homelessness. It consists of two primary components:
•   General Street Count1: A nighttime count of unsheltered homeless individuals and families on
    February 23, 2022, from approximately 8:00 p.m. to midnight. This included those: sleeping
    outdoors on the street; at bus and train stations; in parks, tents, and makeshift shelters; and in
    vehicles and abandoned properties. Individuals staying in safe sleep sites and safe parking sites were
    included and considered as unsheltered per HUD guidance.
•   General Shelter Count: A count of homeless individuals and families staying at publicly and privately
    operated shelters on the night of February 23, 2022. This included those who occupied emergency
    shelters, transitional housing, and domestic violence shelters. Shelter-in-Place (SIP) hotel and trailer
    sites launched as part of San Francisco’s COVID-19 response were included.
The Point-in-Time Count and Survey also included the following supplemental and important
components:
•   Targeted Street Count of Unaccompanied Children and Young Adults2: A nighttime count of
    unsheltered unaccompanied children under 18 and unaccompanied youth 18-24 years old on
    February 23, 2022 from approximately 8:00 p.m. to midnight.
•   Targeted Waitlist Count of Unsheltered Families: A count of families who were identified as
    unsheltered or unstably housed and eligible to be categorized as unsheltered per the HUD definition
    used for the count, verified by Compass Family Services for the night of February 23, 2022.
•   Homeless Survey: An in-person interview of sheltered and unsheltered individuals conducted by
    outreach surveyors in the weeks following the general street count. Data from the survey were used
    to refine the Point-in-Time Count estimates.
This section of the report provides a summary of the results of the Point-in-Time Count and Survey.
Results from prior years are provided to better understand the trends and characteristics of
homelessness over time.
For more information regarding the research methodology, please see Appendix A: Methodology.




1
  For safety reasons, Golden Gate Park and Ocean Beach were counted on the subsequent morning of February 2 4 th and
   McLaren Park in the afternoon. See Appendix A: Methodology for details.
2
  For safety reasons, Golden Gate Park, Buena Vista Park, Ocean Beach, Lake Merced, and Park Merced/Lakeside were
   counted on the morning of February 23rd. See Appendix A: Methodology for details.


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NUMBER AND CHARACTERISTICS OF
PERSONS EXPERIENCING HOMELESSNESS
IN SAN FRANCISCO
On February 23, 2022, there were 7,754 people experiencing homelessness in San Francisco, a 3%
decrease over the 2019 Point-in-Time Count. The total number of unsheltered persons counted was
4,397. Of the 3,357 individuals included in the shelter count, 87% (2,933 people) were in emergency
shelter programs while 13% (424 persons) were residing in transitional housing programs on the night of
the count.
Persons in families with children, including the minor children, represented eight percent (8%) of the
total population counted in the Point-in-Time Count, while 91% were individuals without children. In
total, 5% of those counted on February 23, 2022, were under the age of 18, 13% were between the ages
of 18-24, and 81% were over the age of 25.

Figure 1.   TOTAL NUMBER OF PERSONS EXPERIENCING HOMELESSNESS, 2017-2022

                                                 8,035                             7,754
              6,858




              2017                               2019                              2022

Figure 2.   TOTAL NUMBER OF PERSONS EXPERIENCING HOMELESSNESS BY SHELTER STATUS, 2017-2022

                                        Unsheltered      Sheltered



                                               2,855 (36%)
                                                                                 3,357 (43%)
            2,505 (37%)



                                              5,180 (64%)
            4,353 (63%)                                                          4,397 (57%)



              2017                               2019                              2022




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TOTAL NUMBER OF UNSHELTERED AND
SHELTERED HOMELESS PERSONS BY
DISTRICT
The 2022 San Francisco Homeless Count data are presented below, organized by the 11 City and County
Supervisorial Districts in San Francisco.

Figure 3.       UNSHELTERED AND SHELTERED POINT-IN-TIME COUNT RESULTS BY DISTRICT




Note: An additional 69 persons were residing in confidential or scattered site sheltered locations in San Francisco on the night of the
Point-in-Time Count.
Note: The map displays data per 2012 Supervisorial District lines.




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Figure 4. COMPLETE HOMELESS POINT-IN-TIME COUNT POPULATION BY DISTRICT AND SHELTER STATUS,
             2017-2022

                                 2017                                    2019                                  2022
District           Sheltered    Unsheltered      Total     Sheltered    Unsheltered        Total   Sheltered   Unsheltered   Total

1                     61            370          431          41           204              245       26          195         221
2                      0             53          53            0           171              171       49          109         158
3                     65            293          358          63           278              341      215          176         391
4                      0             31          31            0            34              34        13           68          81
5                    230            143          373         180           183              363      353          344         697
6                   1,601          1,723        3,324       1,666         1,990            3,656    1,952        1,896       3,848
7                     17             74          91           27           141              168        4          159         163
8                     24            236          260          22           295              317      106          181         287
9                    242            281          523         386           257              643      142          522         664
10                   107           1,101        1,208        313          1,528            1,841     428          687        1,115
11                     0             48          48            0            99              99         0           60          60
Confidential/
Scattered Site       158              0          158         157             0             157       69            0          69
Locations in SF
Total               2,505          4,353        6,858       2,855         5,180            8,035    3,357        4,397       7,754
% of Total           37%            63%         100%         36%           64%             100%     43%           57%        100%
Note: The table displays data per 2012 Supervisorial District lines.
Note: All of Golden Gate Park is included in the District 1 reporting for 2017 and 2019.




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Figure 5.     COMPLETE HOMELESS POINT-IN-TIME COUNT POPULATION BY DISTRICT, 2017-2022

                    District 1                   District 2                   District 3

             431                                                                           391
                                                    171
                                                               158
                                                                      358
                       245         221                                          341
                                           53




            2017      2019        2022    2017     2019        2022   2017     2019        2022

                    District 4                   District 5                   District 6

                                                               697              3,656      3,848
                                   81                                 3,324


                                          373       363
             31        34




            2017      2019        2022    2017     2019        2022   2017      2019       2022

                    District 7                   District 8                   District 9


                       168                          317                         643        664
                                  163                          287
                                          260                         523

             91




            2017      2019        2022    2017     2019        2022   2017     2019        2022

                    District 10                  District 11                    Total

                      1,841                                                    8,035
                                                    99
                                                                                           7,754
            1,208                 1,115
                                                                60
                                           48                         6,858




            2017      2019        2022    2017     2019        2022   2017     2019        2022




                                                                                                   22
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Figure 6.   TOTAL UNSHELTERED HOMELESS POPULATION IN GOLDEN GATE PARK, 2017-2022

                                                   2017       2019      2022

                     Golden Gate Park               313        83        183



The map below depicts homeless population density by census tract, according to the 2022 San
Francisco Point-in-Time Count.

Figure 7.   COMPLETE HOMELESS POINT-IN-TIME COUNT POPULATION BY CENSUS TRACT




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HOMELESS SURVEY FINDINGS
This section provides an overview of the findings generated from the survey component of the 2022 San
Francisco Homeless Point-in-Time Count and Survey. Surveys were administered between March 4 and
March 25, 2022, to a randomized sample of individuals experiencing homelessness. This effort resulted
in 768 complete and unique surveys.
Based on a Point-in-Time Count of 7,754 persons experiencing homelessness, with a randomized survey
sampling process, these 768 valid surveys represent a confidence interval of +/- 3.5% with a 95%
confidence level when generalizing the results of the survey to the estimated population of people
experiencing homelessness in San Francisco. In other words, if the survey were conducted again, we can
be confident that the results would be within 3.5 percentage points of the current results. It should be
noted that for the sheltered population, data from direct surveys to homelessness providers and data
from San Francisco’s Homeless Management Information System (HMIS) were combined to meet the
HUD reporting requirements of the sheltered population. The count, demographic information and
household compositions of unsheltered persons were primarily reported from survey data and basic
observational data.
To respect respondent privacy and to ensure the safety and comfort of those who participated,
respondents were not required to answer all survey questions. Missing values are intentionally omitted
from the survey analysis. Therefore, the total number of responses for each question do not always
equal the total number of surveys conducted.
For more information regarding the survey methodology, please see Appendix A: Methodology.




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SURVEY DEMOGRAPHICS
In order to gain a more comprehensive understanding of the experiences of individuals and families
experiencing homelessness in San Francisco, respondents were asked basic demographic questions
including age, gender, sexual orientation, and ethnicity.
Age
One percent (1%) of survey respondents were under 18 years old and 20% were between 18 and 24
years old. Ten percent (10%) of respondents were 25 to 30 years old, 25% were 31 to 40 years old, 20%
were 41 to 50 years old, 17% were 51 to 60 years old, and 8% were 61 or older.

Figure 8.      SURVEY RESPONDENTS BY AGE

                                                         2017    2019       2022




                                                                      25%                              25%
                                                                                    22% 20%      21%
                     19% 18% 20%                            17% 18%           19%                            17%
                                       11%         10%                                                             11% 10%
                                             6%                                                                              8%
   2% 1% 1%

   Under 18             18-24             25-30                 31-40              41-50           51-60              61+

2017 n = 1,104; 2019 n = 1,054; 2022 n = 767
Note: Percentages may not add up to 100 due to rounding.


In an effort to better understand the experiences and age distribution of those experiencing
homelessness, respondents were asked how old they were the first time they experienced
homelessness. Eighteen percent (18%) reported first experiencing homelessness as a child under 18
years old. Thirty-one percent (31%) first experienced homelessness as a young adult between 18 and 24
years old, and over half (51%) were age 25 or older.

Figure 9.      AGE AT FIRST EXPERIENCE OF HOMELESSNESS

                                              Under 18          18-24       25+




2022            18%                          31%                                           51%




n = 696




                                                                                                                                  25
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Sexual Orientation and Gender Identity
Seventy-three percent (73%) of survey respondents identified their sexual orientation as
straight/heterosexual. Ten percent (10%) identified as gay, lesbian, or same gender loving, and 10% as
bisexual. Four percent (4%) identified with a sexual orientation not listed in the survey, while 3%
reported that they were questioning or unsure of their sexual orientation at the time of the survey.

Figure 10. SEXUAL ORIENTATION


             73%




                                         10%                         10%
                                                                                         4%                  3%

 Straight/Heterosexual Gay/Lesbian/Same                           Bisexual            Not Listed    Questioning/Unsure
                         Gender Loving


n = 654


When asked about their gender identity, the majority (58%) of survey respondents identified as male.
Over one-third (34%) identified as female, 4% as transgender, 2% as a gender other than singularly
female or male (e.g., non-binary, gender fluid, agender, culturally specific gender), and 1% were
questioning their gender identity at the time of the survey.

Figure 11. GENDER IDENTITY




          58%


                               34%



                                                      4%                   2%             1%            3%


          Male              Female             Transgender         A Gender Other     Questioning      Don't
                                                                    Than Singularly                 Know/Refuse
                                                                   Female or Male*
n = 745
*(e.g., non-binary, gender fluid, agender, culturally specific gender)
Note: Multiple response question. Percentages may not add up to 100.




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Available survey data reveal that young people who identify as LGBTQ+ represent up to 40% of the
approximately 4.2 million youth and young adults experiencing homelessness in the United States.
LGBTQ+ young people also face higher levels of adversity than their non-LGBTQ+ peers, including
discrimination and physical violence.3 It is estimated that 12% of San Francisco’s population identifies as
LGBTQ+;4 28% of survey respondents identified as LGBTQ+. Among survey respondents identifying as
LGBTQ+, 31% identified as gay, lesbian, or same gender loving; 29% as bisexual; 15% as transgender; 6%
as a gender other than singularly female or male (e.g., non-binary, gender fluid, agender, culturally
specific gender); 10% as questioning or unsure; and 2% as questioning.
Compared to all survey respondents who did not identify as LGBTQ+, respondents who identified as
LGBTQ+ were more likely to report having experienced domestic violence (46% compared to 21%).
Respondents who identified as LGBTQ+ also reported a higher incidence of HIV or AIDS related illness
(14% compared to 4%). LGBTQ+ respondents were also more likely to report first experiencing
homelessness as a youth or young adult than non-LGBTQ+ survey respondents (53% and 48%
respectively).

Figure 12. SEXUAL ORIENTATION AND GENDER IDENTITY

             Does Not Identify as LGBTQ+                     BREAKOUT OF RESPONDENTS ANSWERING YES
             Identifies as LGBTQ+                           Sexual Orientation                    %             n
                                                                Gay/Lesbian/Same
                                                                                                31%             67
                                                                Gender Loving
                                                                Bisexual                        29%             64
                                                                Questioning/Unsure              10%             22
                           72%                                  Other                           12%             27
                                                            Gender Identity                      %               n
                                                                Transgender                     15%             32
                                                                A Gender Other Than
                                                                Singularly Female or
                           28%
                                                                Male (e.g., non-binary,
                                                                                                 6%             13
                                                                gender fluid, agender,
                                                                culturally specific
LGBTQ+ Status n = 767; Breakout of LGBTQ+ Respondents n =       gender)
218
Note: Multiple response question. Percentages may not add       Questioning                      2%             4
up to 100.




3
  Morton, M.H., Samuels, G. M., Dworsky, A., & Patel, S. (2018). Missed Opportunities: LGBTQ Youth Homelessness in
   America. Chapin Hall at the University of Chicago.
4
  City and County of San Francisco, Office of the Controller (May 2019). 2019 San Francisco City Survey Report. Retrieved
   from https://sfcontroller.org/sites/default/files/Documents/Auditing/City%20Survey%202019%20 -%20Report.pdf


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Ethnicity and Race
Similar to the U.S. Census, HUD gathers data on race and ethnicity via two separate questions. Thirty
percent (30%) of survey respondents identified their ethnicity as Hispanic or Latin(a)(o)(x); a higher rate
when compared to the general population of San Francisco (16%)5. This represents a significant increase
since 2019, when 18% of survey respondents identified as Hispanic or Latin(a)(o)(x).

Figure 13. HISPANIC OR LATIN(A)(O)(X) ETHNICITY

              2022 Homeless Survey Population               2021 San Francisco General Population Estimates

                                                                    84%

                                                       60%


              30%
                           16%
                                                                                              11%
                                                                                                           0%

         Hispanic/Latin(a)(o)(x)                Not Hispanic/Latin(a)(o)(x)                Don't Know/Refuse

Homeless Survey Population n = 603
Note: Percentages may not add up to 100 due to rounding.



When asked about their racial identity, greater differences between those experiencing homelessness
and population estimates from the U.S. Census emerged6. A much higher proportion of survey
respondents identified as Black, African American, or African (35% compared to 6%), a much lower
proportion of survey respondents identified as Asian or Asian American (7% compared to 37%), and a
lower percentage identified as White (42% compared to 51%). Most survey respondents identified as
either White (42%) or Black, African American, or African (35%).

Figure 14. RACE

              2022 Homeless Survey Population              2021 San Francisco General Population Estimates



                                                                                              51%
                                                                                       42%
                                  37%            35%


         6%                 7%                             6%        5%                                     6%   5%
               1%                                                          1%

    American Indian, Asian or Asian           Black, African     Native Hawaiian         White           Multi-Racial
    Alaska Native, or  American               American, or          or Pacific
       Indigenous                                African             Islander

Homeless Survey Population n = 613
Note: Percentages may not add up to 100 due to rounding.




5
    United States Census Bureau. (2021). Population Estimates, July 1, 2021 – San Francisco, CA. Quick Facts.
6
    United States Census Bureau. (2021). Population Estimates, July 1, 2021 – San Francisco, CA. Quick Facts.


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History of Foster Care
Nationally, it is estimated that at least one-third of foster youth experience homelessness after exiting
care.7 In the state of California, many foster youth are eligible to receive extended care benefits during
their transition into adulthood, up until their 21st birthday. Implemented since 2012, the aim of
extended foster care is to assist foster youth with the transition to independence and prevent them
from experiencing homeless.
In San Francisco, 22% of all survey respondents reported a history of foster care, similar to survey
findings in 2019 (18%). The percentage of youth under the age of 25 who had been in foster care was
higher than adults aged 25 and older; 29% compared to 20%.

Figure 15. YOUTH UNDER 25 WITH FOSTER CARE EXPERIENCE

                                                  Yes      No   Don't Know

                                                                                                                 4%

2022                     29%                                                 66%




n = 140
Note: Percentages may not add up to 100 due to rounding.



Figure 16. ADULTS AGE 25+ WITH FOSTER CARE EXPERIENCE

                                                  Yes      No   Don't Know

                                                                                                                  3%

2022               20%                                                 77%




n = 578




7
    Dworsky, A;, Napolitano, L.; and Courtney, M. (2013). Homelessness During the Transition From Foster Care to
     Adulthood. Congressional Research Services, Am J Public Health. 2013 December; 103(Suppl 2): S318 –S323. Retrieved
     2018 from 10.2105/AJPH.2013.301455.


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LIVING ACCOMMODATIONS
Where individuals lived prior to experiencing homelessness and where they have lived since impacts
how they seek services and their ability to access support from friends or family. Previous circumstances
can also point to gaps in the system of care and to opportunities for systemic improvement and
homelessness prevention services.
While survey respondents reported many different living accommodations prior to becoming homeless,
most reported living in or around the San Francisco Bay Area with friends, family, or on their own in a
home or apartment.
Place of Residence
Seventy-one percent (71%) of respondents reported living in San Francisco at the time they most
recently became homeless. Of those, over one-third (35%) reported living in San Francisco for 10 or
more years. Seventeen percent (17%) reported living in San Francisco for less than one year.
Four percent (4%) of respondents reported living out of state at the time they became homeless.
Twenty-four (24%) reported living in another county within California. The California counties in which
respondents reported living at the time they most recently became homeless included Alameda County
(7%), Marin (3%), Napa County (2%), San Mateo (2%), and Santa Clara (2%).

Figure 17. PLACE OF RESIDENCE AT TIME OF HOUSING LOSS




n = 706
Note: Percentages may not add up to 100 due to rounding.




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Prior Living Arrangements
Similar to previous place of residence, the type of living arrangements maintained by individuals before
experiencing homelessness can influence what types of homeless prevention services might be offered
to help individuals maintain their housing.
Twenty-seven percent (27%) of respondents reported living in a home owned or rented by themselves
or a partner immediately prior to becoming homeless. Thirty-one percent (31%) reported staying with
friends or family. Eleven percent (11%) reported living in subsidized housing or permanent supportive
housing, and 9% were staying in a hotel or motel. Eight percent (8%) of respondents reported they were
in a jail or prison immediately prior to becoming homeless, while 4% were in a hospital or treatment
facility, 3% were living in foster care, and 1% were in a juvenile justice facility.

Figure 18. LIVING ARRANGEMENTS IMMEDIATELY PRIOR TO EXPERIENCING HOMELESSNESS (TOP SIX
          RESPONSES IN 2022)




         31%                   27%
                                                      11%                    9%                    8%                      4%

       With            Home Owned or Subsidized Housing                Hotel/motel           Jail or Prison         Hospital or
 Friends/Relative      Rented by Self or   or Permanent                                                          Treatment Facility
                           Partner       Supportive Housing


n = 636
Note: Not all response options are displayed above. Survey offers 9 response options. Percentages may not add up to 100.




                                                                                                                                31
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Current Living Arrangements of Unsheltered Survey Respondents
While basic information on where individuals were observed during the general street count is
collected, survey respondents are also asked about their usual nighttime accommodations.
Understanding the types of places in which individuals experiencing homelessness are sleeping can help
inform local outreach efforts.
The majority (80%) of respondents who were unsheltered reported living outdoors at the time of the
survey. Thirteen percent (13%) reported sleeping in public buildings, foyers, hallways, or other indoor
locations not meant for human habitation, and 8% reported sleeping in a vehicle.

Figure 19. USUAL PLACES TO SLEEP AT NIGHT FOR UNSHELTERED SURVEY RESPONDENTS

                                                           2017   2019   2022

                      86%
                                 80%
          72%




                                                           22%
                                                                         13%
                                                                  7%                6%      7%        8%


 Outdoors/Streets/Parks/Encampments                A Structure or Indoor Area not         Vehicle
                                                    Normally Used for Sleeping

2017 n = 967; 2019 n = 736; 2022 n = 506
Note: Percentages may not add up to 100 due to rounding.



The current living arrangements of unsheltered survey respondents contrast with the location types of
individuals observed during the general street count. While 24% of persons identified during the street
count were sleeping in vehicles, a notably lower percentage of unsheltered persons surveyed report
sleeping in vehicles. This discrepancy between the survey and the street count results may reflect
challenges in sampling people living in vehicles in the survey or in accurately estimating the number of
people living in vehicles. Survey respondents also report sleeping in structures or indoor areas not
normally used for sleeping at a higher rate than observed in the general street count, which may reflect
difficulties in visually observing this population during the night of the count. See Appendix A for more
information on our methodology and challenges.




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Figure 20. TOTAL UNSHELTERED HOMELESS POPULATION BY LOCATION TYPE PER STREET COUNT

                                                     2017    2019   2022


                               75%
        71%
                   65%



                                                                                       35%
                                                                              28%
                                                                                                24%


                                                    1%      <1%     1%

  Outdoors/Streets/Parks/Tents                      Abandoned Building               Vehicle

2017 n = 4,353; 2019 n = 5,180; 2022 n = 4,397
Note: Percentages may not add up to 100 due to rounding.



DURATION AND RECURRENCE OF
HOMELESSNESS
Unstable living conditions, poverty, housing scarcity, and many other issues often lead individuals to fall
in and out of homelessness. For many, the experience of homelessness is part of a long and recurring
history of housing instability. Seventy-seven (77%) of survey respondents reported experiencing prior
episodes of homelessness.

Figure 21. FIRST TIME EXPERIENCING HOMELESS (RESPONDENTS ANSWERING “YES”)




                                                            31%
                   25%
                                                                                        23%




                   2017                                     2019                       2022
2017 n = 1,095; 2019 n = 1,011; 2022 n = 723




                                                                                                         33
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Duration of Homelessness
Regarding their current episode of homelessness, over half of respondents (59%) reported experiencing
homelessness for a year or more at the time of the survey, a decrease from 2019 (65%). Twelve percent
(12%) reported experiencing homelessness for less than one month. Among the 23% of respondents
who reported experiencing homelessness for the first time, 42% had been homeless for a year or more
and 12% had been homeless for less than a month.

Figure 22. LENGTH OF CURRENT EPISODE OF HOMELESSNESS
                                                    2017    2019    2022


              65%
     59%              59%



                                                                   22%     20%   22%
                                      12%     10%      8%                              8%          12%
                                                                                             5%


      1 Year or More                    7-11 Months                  1-6 Months        30 Days or Fewer

2017 n = 1,095; 2019 n = 1,042; 2022 n = 707
Note: Percentages may not add up to 100 due to rounding.


Recurrence of Homelessness
Many individuals who experience homelessness will do so numerous times, as people often cycle in and
out of stable housing. Recurring homelessness is also an indicator of the homeless assistance and
housing system’s ability to address individuals’ needs for stable, permanent housing.
Twenty percent (20%) of respondents reported experiencing homelessness more than once in the past
year. One-third (33%) of respondents reported experiencing four or more episodes of homelessness
over the past three years.




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PRIMARY CAUSE OF HOMELESSNESS
Widespread homelessness is the result of a severe shortage in affordable housing, a widening gap
between rising housing costs and stagnant wages, and an insufficient safety net for individuals with
disabling conditions. Though these drivers are structural and systemic, individuals often have one or
multiple major events or factors that precipitate their homelessness. An inability to secure adequate
housing can lead to an inability to address other basic needs, such as health care and adequate
nutrition.
Over one-fifth (21%) of respondents identified job loss as the primary cause of their homelessness.
Fourteen percent (14%) reported eviction. Twelve percent (12%) identified drugs or alcohol, 9%
reported an argument with a friend or family member who asked them to leave, and 7% cited mental
health issues as the primary cause of their homelessness.
In an effort to better understand immediate precipitants of homelessness, survey respondents were
asked a follow-up question to identify if the primary cause of their homelessness was related to the
COVID-19 pandemic or a California wildfire. Seventeen percent (17%) of respondents attributed their
homelessness to the COVID-19 pandemic and 3% to a California wildfire.

Figure 23.      PRIMARY CAUSE OF HOMELESSNESS (TOP SIX RESPONSES EACH YEAR)
              2017                     %                   2019                    %                   2022                 %
 Lost Job                             22%      Lost Job                          26%      Lost Job                          21%
 Alcohol or Drug Use                  15%      Alcohol or Drug Use               18%      Eviction                          14%
 Eviction                             12%      Eviction                          13%      Alcohol or Drug Use               12%
 Argument with Family or                       Argument with Family or                    Argument with Family or
 Friend Who Asked You to              13%      Friend Who Asked You to           12%      Friend Who Asked You to           9%
 Leave                                         Leave                                      Leave
 Divorce/Separation/
                                      10%      Mental Health Issues               8%      Mental Health Issues              7%
 Breakup
                                                                                          Incarceration/Probation
 Mental Health Issues                 6%       Incarceration                      7%                                        7%
                                                                                          and Parole Restrictions

2017 n = 1,073; 2019 n = 1,039; 2022 n = 706
Note: Not all response options are displayed above. Survey offers 18 response options. Percentages may not add up to 100.




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Obstacles to Obtaining Permanent Housing
Many individuals experiencing homelessness face significant barriers in obtaining permanent housing.
These barriers can range from housing affordability and availability to accessing economic and social
supports (e.g., increased income, rental assistance, and case management) needed to access and
maintain permanent housing.
Respondents were asked what prevented them from obtaining housing. Over one-third (39%) reported
that they could not afford rent. Nearly one-quarter (24%) reported a lack of job or enough income,
followed by 17% who cited having no money for moving costs. Most other respondents reported a
mixture of other income or access related issues, such as difficulty with the housing process (16%) and
lack of housing available (15%).

Figure 24. OBSTACLES TO OBTAINING PERMANENT HOUSING (TOP FIVE RESPONSES EACH YEAR)

                                                     2017      2019    2022




          63%
    56%

                 39%                37%
                              33%
                                           24%                                                  25%
                                                        16% 19% 17%            18% 18% 16%            15% 15%



  Can't Afford Rent       No Job/Not Enough             No Money for          Housing Process    No Housing
                               Income                   Moving Costs           Too Difficult      Available


2017 n = 1,056; 2019 n = 1,032; 2022 n = 689
Note: Multiple response question. Percentages may not add up to 100.




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SERVICES AND ASSISTANCE
The City and County of San Francisco provides services and assistance
to those currently experiencing homelessness through local, state, and
federal funding sources. Government assistance and homeless services
work to enable individuals and families to obtain income and support.
Government Assistance
There are various forms of government assistance available to persons
experiencing homelessness. However, usage of these supports is
impacted by knowledge of services available, understanding of
eligibility requirements, and perceived stigma of receiving
governmental assistance.
Although the majority (63%) of respondents in 2022 reported they were receiving some form of
government assistance, this was a decrease from 73% in the 2017 and 2019 surveys. The largest
percentage of respondents (40%) reported receiving CalFresh (food stamps) and/or WIC (Special
Supplemental Nutrition Program for Women, Infants, and Children). Nearly one-quarter (24%) of
respondents reported receiving County Adult Assistance Program (CAAP) or General Assistance (GA)
benefits. Eleven percent (11%) reported receiving SSI, SSDI, Disability or non-veteran disability benefits.

Figure 25. RECEIVING GOVERNMENT ASSISTANCE
                                                          Yes      No



2022                                       63%                                                 37%



n = 653


Figure 26. GOVERNMENT ASSISTANCE RECEIVED (TOP SIX RESPONSES EACH YEAR)

                                                       2017      2019     2022



          43% 40%
   35%                                                                                                             37%
                               30%                                                                       27% 27%
                         25%         24%                               20% 17%
                                                19% 20% 15%
                                                                                 11%    8% 7% 7%


  Food Stamps/          GA/CAAP/CAPI           Medi-Cal/          SSI/                 Social Security   Not Receiving
   SNAP/ WIC/                               Medicare/Covered SSDI/Disability                              Any Form of
    CalFresh                                       CA                                                    Government
                                                                                                           Assistance

2017 n = 999; 2019 n = 1,017; 2022 n = 653
Note: Multiple response question. Percentages may not add up to 100.




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Among those reporting not receiving government benefits, 56% reported not wanting government
assistance. Ten percent (10%) did not think they were eligible for services, 7% reported they had never
applied, 4% had applied and were waiting for a response, and 4% reported being turned down. Three
percent (3%) reported that their benefits had been cut off.
Respondents also reported challenges applying for benefits; 15% reported not having the required
identification, 6% reported no permanent address to use on their application, and 4% reported that the
paperwork was too difficult. Four percent (4%) cited immigration issues as a barrier, and 4% reported
they did not know where to go to seek assistance.

Figure 27. REASONS FOR NOT RECEIVING GOVERNMENT ASSISTANCE (TOP FIVE RESPONSES EACH YEAR)
                                                      2017      2019   2022


    54%          56%

          30%
                                     20% 15%
                               9%                       12% 15% 10%            10% 14%    7%          6%
                                                                                                           15%
                                                                                                                 6%


     Don't Want             No Identification           Don't Think I'm        Never Applied          No Permanent
     Government                                            Eligible                                      Address
      Assistance

2017 n= 259; 2019 n = 259; 2022 n = 227
Note: Multiple response question. Percentages may not add up to 100.


Services and Programs
In addition to government assistance, there are numerous community-
based services and programs available to individuals experiencing
homelessness. These services range from drop-in resource centers and
meal programs to job training and health care.
Forty-one percent (41%) of respondents reported using free meal
services. Over one-quarter (29%) reported using emergency shelter
services. Sixteen percent (16%) of respondents reported using transitional
housing. Thirteen percent (13%) reported using shelter day services and
12% reported using health services. Over one-quarter (29%) of
respondents reported they were not using any services.

Figure 28. SERVICES OR ASSISTANCE (TOP FIVE RESPONSES EACH YEAR)
              2017                    %                   2019                %                2022               %
 Free Meals                          52%      Free Meals                      66%   Free Meals                   41%

 Emergency Shelter                   39%      Emergency Shelter               44%   Emergency Shelter            29%

 Health Services                     25%      Health Services                 30%   Transitional Housing         16%
 Mental Health Services              19%      Mental Health Services          17%   Shelter Day Services         13%
 Bus Passes                          18%      Bus Passes                      16%   Health Services              12%

2017 n = 1,037; 2019 n = 1,015; 2022 n = 642
Note: Multiple response question. Percentages may not add up to 100.




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EMPLOYMENT AND INCOME
While the majority of survey respondents reported being unemployed, 17% reported full-time, part-
time, or sporadic employment and many indicated earning some form of income.
Employment
The unemployment rate in San Francisco in February 2022 was 3 percent.8 It is important to recognize
that the unemployment rate represents only those who are unemployed and actively seeking
employment. It does not represent all joblessness, nor does it address the types of available
employment. In 2022, the jobless rate for homeless survey respondents was 83%, with 32% unemployed
and looking for work, 32% not looking for work, and 20% unable to work. Seventeen percent (17%) of
respondents reported working full-time, part-time, or with seasonal, temporary, or sporadic
employment, compared to 11% in 2019.
All jobless respondents are asked to identify barriers to employment. In 2022, the primary barriers cited
included an alcohol or drug issue (23%), no permanent address (21%), no phone (18%), and no
identification (15%). Further, 14% of respondents cited a disability, 14% a lack of transportation, 12%
mental health issues, and 12% a lack of available work or jobs. Twenty-one (21%) of respondents
reported that they did not want to work.

Figure 29. OBSTACLES TO OBTAINING EMPLOYMENT (TOP FIVE RESPONSES EACH YEAR)
               2017                   %                    2019            %                 2022                 %
    No Transportation                36%      No Permanent Address        28%     Alcohol/Drug Issue            23%
    No Permanent Address             36%      Disability                  24%     No Permanent Address          21%

    Need Education or Training       22%      Alcohol or Drug Use         19%     Don’t Want to Work            21%

    No Jobs                          16%      Health Problems             18%     No Phone                      18%
                                                                                  No Photo ID or Social
    Don’t Want to Work               13%      No Transportation           16%                                   15%
                                                                                  Security Card

2017 n = 45; 2019 n = 904; 2022 n = 586
Note: Multiple response question. Percentages may not add up to 100.




8
    State of California Employment Development Department. ( 2022). Unemployment Rates (Labor Force). Retrieved from
     http://www.labormarketinfo.edd.ca.gov


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Income
Income from all sources varied between employed and unemployed survey respondents, but overall
income was higher among those who were employed. Nearly half (48%) of unemployed respondents
reported an income of $99 or less per month, in comparison to 6% of those who were employed.
Alternatively, 45% of employed respondents reported making $1,100 or more per month, compared to
10% of unemployed respondents.

Figure 30. EMPLOYMENT AND MEAN MONTHLY INCOME EACH YEAR

                                     2017                              2019                             2022

                          Employed        Unemployed        Employed       Unemployed        Employed       Unemployed
 $0-$99                       13%             33%              11%             36%              6%              48%
 $100-$449                    4%              18%              10%             24%              14%             17%
 $450-$749                    26%             16%              23%             15%              24%             17%
 $750-$1,099                  16%             24%              20%             18%              10%              8%
 $1,100-$1,499                24%              6%              22%              4%              22%              6%
 $1,500-$3,000                15%              3%              13%              2%              15%              2%
 More than $3,000             2%              <1%              1%               1%              8%               2%

2017 Employed n = 137, 2017 Unemployed n = 917; 2019 Employed n = 116, 2019 Unemployed n = 891; 2022 Employed n = 108, 2022
Unemployed n = 518
Note: Percentages may not add up to 100 due to rounding.




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HEALTH
The average life expectancy for individuals experiencing homelessness is up to 36 years shorter than the
general population.9 Without regular access to healthcare and without safe and stable housing,
individuals experience preventable illness and often endure longer hospitalizations. It is estimated that
those experiencing homelessness are hospitalized at disproportionate rates for mental health needs,
HIV/AIDS treatment and drug or alcohol use when compared to the general public.10
Health Conditions
Sixty percent (60%) of respondents reported living with one or more health conditions. These conditions
included chronic physical illnesses, physical disabilities, chronic substance use, and severe mental health
conditions. Thirty-nine (39%) of respondents reported their condition limited their ability to hold a job,
live in stable housing, or take care of themselves.
The most frequently reported health condition was drug or alcohol abuse (52%, which represents a 10
percentage point increase from 2019), followed by post-traumatic stress disorder (PTSD) (38%) and
psychiatric or emotional conditions (36%). Twenty-two percent (22%) reported living with a chronic
health problem, 21% a physical disability, 13% a traumatic brain injury, and 8% an AIDS or HIV related
illness.

Figure 31. HEALTH CONDITIONS
                                                       2017     2019         2022

              52%
    41% 42%                37% 38%      39% 39% 36%        31% 31%
                     29%                                                       23% 27% 21%
                                                                       22%
                                                                                             12% 15% 13%      11% 7% 8%


      Drug or       Post-Traumatic       Psychiatric          Chronic           Physical     Traumatic          AIDS/HIV
      Alcohol       Stress Disorder     or Emotional           Health           Disability     Brain          Related Illness
      Abuse             (PTSD)           Conditions           Problem                          Injury

2017 n = 1,027-1,061; 2019 n = 1,054; 2022 n = 754-764
Note: Multiple response question. Percentages may not add up to 100.


Food Security
Over half (51%) of respondents reported experiencing a food shortage in the four weeks prior to the
survey, compared to 59% in 2019.

Figure 32. FOOD SHORTAGE IN THE PAST FOUR WEEKS
                                               Yes      No     Don't Know

2022                             47%                                                  46%                      6%


n = 636
Note: Percentages may not add up to 100 due to rounding.



9
  Koachanek, M.A., et al. (2017). Mortality in the United States, 2016. NCHS Data Brief, no 293. Hya ttsville, MD: National
   Center for Health Statistics. Retrieved from https://www.cdc.gov/nchs/data/databriefs/db293.pdf.
10
   Reese, P. (2019). California Hospitals See Massive Surge in Homeles s Patients. Kaiser Health News. Retrieved from
   https://californiahealthline.org/news/california-hospitals-see-massive-surge-in-homeless-patients/


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DOMESTIC VIOLENCE AND PARTNER ABUSE
Histories of domestic violence and partner abuse are prevalent among individuals experiencing
homelessness and can be the primary cause of homelessness for many. Survivors often lack the financial
resources required for housing, as their employment history or dependable income may be limited.
Eight percent (8%) of all survey respondents reported currently experiencing domestic/partner violence
or abuse. Twenty-three percent (23%) of all respondents reported experiencing domestic/partner
violence or abuse during their lifetime.
Domestic violence varied by gender, with 12% of transgender respondents and 20% of respondents who
identified with a gender other than singularly female or male (e.g., non-binary, gender fluid, agender,
culturally specific gender) reporting current experiences of domestic violence, compared to 7% of males
and 10% of females. Looking at domestic violence across the lifetime, 75% of questioning and 55% of
respondents who identified with a gender other than singularly female or male (e.g., non-binary, gender
fluid, agender, culturally specific gender) reported previous experiences of domestic violence, compared
to 36% of female respondents, 33% of transgender respondents and 15% of male respondents.
Among those who experienced domestic violence, 14% cited a lost job as the primary cause of their
homelessness. Among individuals in families, 38% had experienced domestic violence, 40% of whom
attributed their homelessness to an argument with family or friends who asked them to leave.

Figure 33. EXPERIENCE OF DOMESTIC VIOLENCE DURING LIFETIME

                                                                Yes      No




2022                     27%                                                       73%




n= 558


Figure 34. CURRENTLY EXPERIENCING DOMESTIC VIOLENCE, BY GENDER




                                                                                                    20%
               10%                                                               12%
                                                    7%


             Female                               Male                        Transgender   A Gender Other Than
                                                                                            Singularly Female or
                                                                                                   Male*


 n = 659
*(e.g., non-binary, gender fluid, agender, culturally specific gender)




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CRIMINAL JUSTICE SYSTEM
Homelessness and incarceration are often correlative. One study indicates that formerly incarcerated
individuals are almost ten times more likely to be homeless than the general public. 11
Incarceration
Twenty-three percent (23%) of survey respondents reported spending at least one night in jail or prison
within the previous 12 months compared to 25% in 2019 and 20% in 2017.
Thirteen percent (13%) of respondents reported being on probation or parole at the time of the survey.
Similarly, 11% of respondents were on probation or parole at the time they most recently became
homeless.

Figure 35. ON PROBATION OR PAROLE AT ONSET OF HOMELESSNESS

                                                Yes        No     Decline to State

                                                                 4%                                  7%




                     87%                                        84%                                 81%




                     13%                                        12%                                 11%

                    2017                                        2019                               2022

2017 n = 1,039; 2019 n = 1,001; 2022 n = 628
Note: Percentages may not add up to 100 due to rounding.




11
     Prison Policy Initiative. (2018). Nowhere to Go: Homelessness among Formerly Incarcerated People . Retrieved from
     https://www.prisonpolicy.org/reports/housing.html


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SELECT POPULATIONS
Home, Together: The Federal Strategic Plan to Prevent and End Homelessness outlines national
objectives and evaluative measures for ending homelessness among all populations in the United States.
In order to adequately address the diversity within the population experiencing homelessness, the
federal government identifies four subpopulations with particular challenges or needs, including:
•   Chronic homelessness among people with disabilities;
•   Veterans;
•   Families with children; and
•   Unaccompanied children and transitional-age youth.
Consequently, these subpopulations represent important reportable indicators for measuring local
progress toward ending homelessness.
The following section examines the number and characteristics of persons included in each of these four
subpopulations during the 2022 San Francisco Homeless Point-in-Time Count and Survey.




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Prevalence of Chronic Homelessness
Self-reported information in the Point-in-Time Count Survey related to health conditions and
homelessness history is used to estimate the size of San Francisco’s chronically homeless population.
Based on these survey responses, an estimated 2,691 people (or 35% of the homeless population) were
experiencing chronic homelessness in San Francisco on February 23, 2022, an 11% decrease since 2019.
People experiencing chronic homelessness are more likely to be sheltered, with 59% sheltered
compared to 43% of the total homeless population.
The majority (98%) of people experiencing chronic homelessness were adults without children. Persons
in families comprised 2% of all persons experiencing chronic homelessness. Five percent (5%) of
chronically homeless persons were estimated to be unaccompanied youth under 25 years old.

Figure 36. CHRONICALLY HOMELESS POPULATION ESTIMATES BY HOUSEHOLD TYPE, 2017-2022
                                       Individuals       Persons in Families with Children
                                                        2,855
                                                                                                    2,638
             2,112




                            26                                           175                                         53

                     2017                                       2019                                        2022

Figure 37. INDIVIDUALS EXPERIENCING CHRONIC HOMELESSNESS, BY SHELTER STATUS
                                                 Unsheltered           Sheltered


2022                             41%                                                       59%



n = 2,691


Figure 38. PRIMARY CAUSE OF HOMELESSNESS, CHRONIC AND NON-CHRONIC COMPARISON (TOP FIVE
                RESPONSES IN 2022)

                      2022 Chronic Survey Population              2022 Non-Chronic Survey Population




       22%                                23%
                                  18%                                                         15%
                9%                                         13%                       13%                       10%
                                                                    4%                                                      8%


 Alcohol or Drug Use               Lost Job          Mental Health Issues              Eviction          Argument with Family
                                                                                                         or Friend Who Asked
                                                                                                             You to Leave

Chronic n = 171; Non-Chronic n = 535
Note: Not all response options are displayed above. Survey offers 18 response options. Percentages may not add up to 100.



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Demographics of Survey Respondents Experiencing Chronic Homelessness
The majority of chronically homeless survey respondents identified as male (61%), compared to 59% of
non-chronically homeless survey respondents. A lower percentage (25%) of chronically homeless
respondents identified as Hispanic or Latin(a)(o)(x) compared to non-chronically homeless respondents
(31%). Chronically homeless respondents identified as White at a higher rate than non-chronically
homeless respondents (53% compared to 38%), and identified as Black, African American, or African at a
lower rate (25% compared to 38%). Six percent (6%) of chronically homeless respondents identified as
Multi-Racial.

Figure 39. ETHNICITY AMONG PERSONS EXPERIENCING CHRONIC HOMELESSNESS

    2017 Chronic Survey Population              2019 Chronic Survey Population              2022 Chronic Survey Population

                                                     77%         79%
                                                                           69%




        21%                    25%
                    18%
                                                                                                   2%          3%        6%


       Hispanic/Latin(a)(o)(x)                   Not Hispanic/Latin(a)(o)(x)                       Don't Know/Refuse

2017 n = 322; 2019 n = 334; 2022 n = 146



Figure 40. RACE AMONG PERSONS EXPERIENCING CHRONIC HOMELESSNESS

   2017 Chronic Survey Population               2019 Chronic Survey Population              2022 Chronic Survey Population



                                                                                                         53%
                                                                                             40%
                                                33% 32%                                            34%
                                                           25%
                                                                                                                    19% 22%
                                      8%
     4% 6% 5%              3% 4%                                       1% 3% 3%
                                                                                                                              6%


 American Indian, Asian or Asian               Black, African       Native Hawaiian             White               Multi-Racial
 Alaska Native, or  American                   American, or            or Pacific
    Indigenous                                    African               Islander

2017 n = 335; 2019 n = 339; 2022 n = 154
Note: Percentages may not add up to 100 due to rounding.
Note: 2017 and 2019 data includes respondents who identified as “Other”, which is no longer a response option in 2022.




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Prevelance of Veterans Experiencing Homelessness
In 2022, there were an estimated 605 veterans experiencing homelessness in San Francisco. Sixty-seven
percent (67%) of veterans surveyed during the Point-in-Time Count were unsheltered. Veterans were
more likely to be sheltered in 2022 at a rate of 33% compared to 19% in 2019, and the total number of
sheltered veterans increased by 72% from 2019 to 2022.

Figure 41. VETERANS EXPERIENCING HOMELESSNESS BY SHELTER STATUS, 2017-2022

                                                 Unsheltered            Sheltered



                                                            117 (19%)
                 328 (48%)                                                                              201 (33%)




                                                            491 (81%)
                 356 (52%)                                                                               404 (67%)




                    2017                                      2019                                        2022


Primary Cause of Homelessness Among Veterans
The most frequently cited cause of homelessness among veterans was job loss (25%), followed by
eviction (14%), alcohol or drug use (10%), incarceration or probation and parole restrictions (10%), and
mental health issues (9%).

Figure 42. PRIMARY CAUSE OF HOMELESSNESS AMONG VETERANS EXPERIENCING HOMELESSNESS (TOP
               FIVE RESPONSES IN 2022)




           25%
                                       14%
                                                                   10%                          10%                         9%


         Lost Job                    Eviction             Alcohol or Drug Use       Incarceration/Probation Mental Health Issues
                                                                                     and Parole Restrictions

n = 69
Note: Not all response options are displayed above. Survey offers 18 response options. Percentages may not add up to 100.




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Prevelance of Families With Children Experiencing Homelessness
There were 605 persons in 205 families identified during the 2022 count, similar to the 631 persons in
208 families identified in 2019. There were 19 families headed by a young parent between the ages of
18 and 24. Eighty-seven (87%) of families were residing in shelters or transitional housing programs.

Figure 43. NUMBER OF FAMILIES WITH CHILDREN EXPERIENCING HOMELESSNESS, 2017-2022


                                                         208                          205
                    190




                  2017                               2019                           2022


Figure 44. FAMILIES WITH CHILDREN EXPERIENCING HOMELESSNESS, BY SHELTER STATUS

                                           Unsheltered     Sheltered




2022          13%                                              87%




n = 205 Families with 605 Family Members




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Primary Cause of Homelessness Among Families with Children
The most frequently cited cause of homelessness among survey respondents in families was job loss
(23%). Fifteen percent (15%) reported an argument with a friend or family member who asked them to
leave. Respondents in families attributed their homelessness to domestic violence at twice the rate of
single individuals (8% compared to 4%).
Over one-quarter (27%) of respondents in families reported experiencing domestic violence in their
lifetime, while 14% indicated experiencing domestic violence at the time of the survey.

Figure 45. PRIMARY CAUSE OF HOMELESSNESS AMONG FAMILIES WITH CHILDREN (TOP 3 RESPONSES IN
               2022)

                    2022 Family Survey Population                    2022 Non-Family Survey Population


                                                                             23%
                                                 Lost Job
                                                                            21%

 Argument with Family or Friend Who Asked You                             15%
                  to Leave                                           9%

                                                                    8%
                            Family/Domestic Violence
                                                                  4%

                                                                     8%
                                  Mental Health Issues
                                                                     7%

                                                                     8%
                           Hospitalization/Treatment
                                                                1%

                                                                    8%
 Incarceration/Probation and Parole Restrictions
                                                                   6%

    Someone in the House was Ill, and You Left to                    8%
       Protect Yourself or Your Dependents                      1%

Families n = 13; Non-Families n = 693
Note: Not all response options are displayed above. Survey offers 18 response options. Percentages may not add up to 100.
Note: Results are based on a small sample size but consistent with previous years.




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Prevlance of Unaccompanied Children and Transitional-Age Youth (TAY) Experiencing
Homelessness
There were 1,073 unaccompanied children and transitional-age youth identified during the 2022 Point-
in-Time Count, a 6% decrease from the 1,145 counted in 2019. Among unaccompanied youth
experiencing homelessness, 987 were transitional-age youth between 18 and 24 years old while 86 were
unaccompanied children under 18 years old. Eighty-three percent (83%) of transitional-age youth and
95% of unaccompanied children were unsheltered.

Figure 46. NUMBER OF UNACCOMPANIED CHILDREN AND TRANSITIONAL-AGE YOUTH EXPERIENCING
              HOMELESSNESS, 2017-2022

                            Unaccompanied Children             Unaccompanied TAY


                1,274
                                                    1,145                            1,073


             1,170 (92%)
                                                 1,091 (95%)                       987 (92%)

                           104 (8%)                                 54 (5%)                         86 (8%)

                2017                                2019                             2022

Figure 47. UNACCOMPANIED CHILDREN POPULATION BY SHELTER STATUS

                                      Unsheltered       Sheltered



2022                                              95%                                          5%




n = 86


Figure 48. UNACCOMPANIED TRANSITIONAL-AGE YOUTH POPULATION BY SHELTER STATUS

                                      Unsheltered       Sheltered



2022                                       83%                                         17%




n = 987




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Primary Cause of Homelessness Among Unaccompanied Homeless Children and
Transitional-Age Youth
Youth survey respondents reported some differences in cause of homelessness compared to
respondents 25 years or older. Nearly one-quarter (23%) of youth reported a job loss as the primary
cause of their homelessness, compared to 21% of individuals over 25. Fewer reported an argument with
a friend or family member who asked them to leave as the primary cause of their homelessness
compared to that of adults; 17% compared to 7%, respectively.

Figure 49. PRIMARY CAUSE OF HOMELESSNESS AMONG UNACCOMPANIED CHILDREN AND
               TRANSITIONAL-AGE YOUTH AND ADULTS 25 AND OLDER (TOP SIX RESPONSES IN 2022)

                      Youth Under 25 Survey Population                Adults 25 and Older Survey Population


                                                                                                                              23%
                                                           Lost Job
                                                                                                                        21%


                                                                                                                17%
Argument with Family or Friend Who Asked You to Leave
                                                                                         7%


                                                                                                         14%
                                          Alcohol or Drug Abuse
                                                                                                   11%


                                                                                              9%
                                           Mental Health Issues
                                                                                      6%


                                                                                           8%
                                                           Eviction
                                                                                                               16%


                                                                                           8%
                                  Divorce/Separation/Breakup
                                                                                    5%


Youth Under 25 n = 132; Adults 25 and Older n = 574
Note: Not all response options are displayed above. Survey offers 18 response options. Percentages may not add up to 100.




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2022 San Francisco Youth Homeless Count and Survey Report
The preceding section provides an overview of San Francisco HUD reported data on unaccompanied
children and youth. The 2022 San Francisco Youth Homeless Count and Survey report contains additional
information on the number of unaccompanied children and transitional-age youth counted in the Point-
in-Time Count using the City of San Francisco’s expanded definition of homelessness, as well as
additional information gathered in the youth focused survey effort. The report can be accessed online at
hsh.sfgov.org.




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CONCLUSION
The 2022 San Francisco Homeless Count and Survey was performed using HUD-recommended practices
for counting and surveying the homeless population. The 2022 Count was especially notable for being
conducted during the COVID-19 pandemic and the need to safely engage the community in the middle
of a public health crisis. The project team was able to stay consistent with methods used in previous PIT
counts yet introduce several enduring innovations, including a GPS-enable smart phone application and
interactive online route planning and management, adding value and accuracy to the effort.
Additionally, the count planning team took a large step in reorienting the staffing of teams to include
homeless outreach staff and persons with lived experience to complement the volunteer-centric
approach used in previous years. This added valuable expertise into the street count process and will be
a key component of future efforts.
Data summarized in this report provide many valuable insights about the unique and diverse
experiences of homelessness in San Francisco. Key insights gleaned through the Count and Survey
include:
•   The number of people experiencing unsheltered homelessness decreased 15% from 2019 to 2022.
    This decrease corresponds with a significant increase in housing and shelter resources.
•   Total homelessness (sheltered and unsheltered) decreased by 3.5% from 2019 to 2022, with a 9%
    reduction in homeless households.
•   Over 49% of respondents experienced homelessness for the first time when they were under the
    age of 25. Twenty-two percent (22%) of all surveyed had a history of foster care. Data suggests the
    importance of earlier intervention in prevention efforts.
•   The top two self-reported reasons for homelessness were economic with losing employment and
    eviction as top responses.
•   Health issues continue to be a prevalent problem with 39% having a disabling condition and very
    high rates of mental health issues and substance use issues (52%).
•   There was an 18% increase in people living in shelter from 2019 to 2022. This corresponds with a
    substantial increase of 24% in available shelter beds.
•   The number of chronically homeless people decreased by 11% from 2019 to 2022, and the
    population was less chronically homeless in 2022 at a rate of 35% compared to 38% in 2019.
•   Homeless families decreased by 1% since 2019, and parenting youth households decreased 47%
    since 2019.
In summary, the 2022 San Francisco Homeless Count and Survey provides valid and useful data that
plays a critical role in developing a more comprehensive profile of those experiencing homelessness.
Data presented in this report fulfill federal reporting requirements for the Continuum of Care, and will
continue to inform service planning, and policy decision-making by local planning bodies over the year
to come.




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APPENDIX A: METHODOLOGY
OVERVIEW
The San Francisco Homeless Point-in-Time Count and Survey was designed and implemented through a
collaborative CoC-wide effort that included various City departments and community-based
organizations. COVID-19 related safety and public health issues were a key concern in planning from
both a process and staffing perspective as we prioritized caution with the need for accurate, complete,
and comparable information about the homeless population.
The 2022 San Francisco Homeless Point-in-Time Count and Survey was performed using HUD-
recommended practices and using HUD’s PIT Count definition of homelessness. The goal was to produce
a point-in-time estimate of individuals and families experiencing homelessness in San Francisco, a region
which covers approximately 47 square miles. Several primary data collection components were
integrated to produce the total estimated number of persons experiencing homelessness on a given
night. A detailed description of these components follows.
Components of the Homeless Census and Survey
The methodology used in the 2022 Point-in-Time Count and Survey had four components:
•   General Street Count: A nighttime count of unsheltered homeless individuals and families between
    the hours of 8:00 p.m. and midnight on February 23, 2022; at Golden Gate Park and Ocean Beach
    between 7:00 a.m. and 10:00 a.m. on the morning of February 24; and at McLaren Park between
    12:00 p.m. and 3:00 p.m. on the afternoon of February 24. This included those sleeping outdoors on
    the street; at transit stations; in parks, tents, and other makeshift shelters; and in vehicles and
    abandoned or public properties, like parking garages and related locations. Individuals staying in
    safe sleep sites and safe parking sites were included and considered as unsheltered per HUD
    guidance.
•   Targeted Street Count of Unaccompanied Youth and Young Adults: A nighttime count of
    unsheltered unaccompanied youth under 18 and young adults 18-24 years old on February 23, 2022
    between the hours of 8:00 p.m. and midnight, and at Golden Gate Park, Buena Vista Park, Ocean
    Beach and Lake Merced between 7:00 a.m. and 10:00 a.m. on the morning of February 23. This was
    led by special youth teams who canvassed specific areas where unaccompanied children and youth
    were known to congregate. Upon completion, data from this targeted count was carefully reviewed
    against the results from the general street count to ensure that any possible duplicate counts were
    removed.
•   General Shelter Count: A count of homeless individuals and families staying at publicly and privately
    operated shelters on the night of February 23, 2022. This included those who occupied emergency
    shelters, transitional housing, and domestic violence shelters. Shelter-in-Place (SIP) hotel and trailer
    sites launched as part of San Francisco’s COVID-19 response were included.
•   Homeless Survey: An in-person interview with 768 unique sheltered and unsheltered homeless
    individuals conducted by peer surveyors between March 4 and March 25, 2022 throughout San
    Francisco. Data from the survey were used to refine the Point-in-Time Census estimates, and then
    used to gain a more comprehensive understanding of the demographics and experiences of
    homeless individuals.




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The Planning Process
To ensure the success and integrity of the count, many City departments and community agencies
collaborated on community outreach, volunteer recruitment, logistical plans, methodological decisions,
and interagency coordination efforts. ASR provided technical assistance for these aspects of the
planning process. ASR has over 23 years of experience conducting homeless counts and surveys
throughout California and across the nation. Their work is featured as a best practice in the HUD
publication, A Guide to Counting Unsheltered Homeless People., as well as in the Chapin Hall at the
University of Chicago publication, Conducting a Youth Count: A Toolkit.
Community Involvement
Local homeless and housing service providers and advocates were valued partners in the planning and
implementation of this count. The Local Homeless Coordinating Board (LHCB), the lead entity of San
Francisco’s Continuum of Care, was invited to comment on the methodology and subsequently
approved it. The planning team was comprised of staff from HSH and consultants from ASR. Throughout
the planning process, the planning team requested the collaboration, cooperation, and participation of
several government agencies and nonprofit providers that regularly interact with homeless individuals
and possess considerable expertise relevant to the count.
COVID-19 Adjustments
The planning team remained in close consultation with the San Francisco Department of Public Health
and monitored guidance from HUD and the CDC throughout the PIT count planning process in order to
prioritize the safety of people experiencing homelessness, staff, and volunteers during the continued
COVID-19 pandemic. HSH further coordinated with other Bay Area CoCs to develop and follow best
practices to ensure both a safe and accurate count. Several adjustments were made, and new protocols
adopted to adapt to the new circumstances.
In prior PIT count years, the street count was conducted primarily by hundreds of volunteers from the
general public. PIT count teams were often assigned on-site during an in-person kick-off training on the
night of the count. In 2022, the planning team made the decision, in consultation with the San Francisco
Department of Public Health, to minimize the risks of COVID-19 transmission by limiting the team size
and number of enumerators used. Teams were also asked to self-identify teammates they would work
in close contact with to reduce interaction across households.
Additionally, a strategic goal of HSH and the LHCB was to integrate more skilled homeless outreach
workers and more persons with lived experience of homelessness into the street count effort. The
planning team worked with the City and County of San Francisco and various nonprofit outreach
partners to recruit homeless outreach workers as enumerators. People with lived experience were also
recruited by outreach workers to join their enumeration teams and received a financial incentive for
their participation. This led to a significantly higher rate of skilled and experienced enumerators who
were able to canvas the city with fewer participants. A small number of volunteer teams were recruited
from the general public, including city staff, to ensure full coverage.
Participation standards stipulated COVID-19 vaccination though proof was not mandated. Local
department and agency public health and safety guidelines were followed, and health and safety
protocols were distributed to all enumerators and surveyors in advance as part of their training
materials. Masks and other PPE were required and made available for all enumerators, surveyors, and
survey participants. Finally, in order to reduce the need for physical interaction between participants, a




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mobile application was used (see “Methodological Improvements” below) to replace paper tally sheets,
trainings were conducted virtually, and training materials were disseminated digitally.

STREET COUNT METHODOLOGY
Definition
For the purposes of this study, the HUD definition of unsheltered homeless persons was used:
•   An individual or family with a primary nighttime residence that is a public or private place not
    designed for or ordinarily used as a regular sleeping accommodation for human beings, including a
    car, park, abandoned building, bus or train stations, airport, or camping ground.

Methodology
Consistent with previous years, the 2022 street count methodology followed an established, HUD-
approved approach commonly called a “blitz” method followed by a sample survey. This method
combines a complete census to enumerate the total homeless population while applying a non-random,
convenience sampling approach to generate necessary demographic information from the PIT survey.
As in 2019, gender estimates for unsheltered individuals were extrapolated from self-reported survey
data. Observation-based gender data from the app-based tally sheet were only used for the purposes of
deduplication. Age estimates for unsheltered individuals continued to be derived from street count
observations.

Enumeration Team Recruitment and Training
In 2022, the planning team outreached to nonprofit partners throughout the city with staff expertise in
homeless service provision and street outreach. Nonprofit partners and program staff were also
encouraged to recruit persons with lived experience to act as experienced guides on enumeration
teams. Homeless guides were paid $20 for online training as well as $20 per hour worked on the day of
the count.
Over 100 outreach workers and homeless guides participated in the general street count. A limited
recruitment of additional volunteers was targeted towards city staff and staff of nonprofits homeless
service providers. Approximately 50 volunteers were recruited to assist with lower-density routes and
ensure enough coverage for a complete census.
In order to participate in the count, all volunteers and guides were requested to view a 20-minute
training video before the count. Additionally, targeted trainings were held for multiple groups
throughout the county who were able to convene a large enough group of attendees. Training covered
all aspects of the count:
•   definition of homelessness;
•   how to identify homeless individuals;
•   how to conduct the count safely and respectfully;
•   how to use the smart phone app and also access the smartphone app training video;
•   how to use the route maps to ensure the entirety of the assigned area was covered;
•   tips to identify vehicles; and
•   other tips to help ensure an accurate and safe count.

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Safety Precautions
Every effort was made to minimize potentially hazardous situations. Parks considered too big or densely
wooded to inspect safely and accurately in the dark on the night of the count were enumerated by
outreach teams on the mornings of February 23 and 24 and on the afternoon of February 24. Outreach
workers were accompanied by SF Park Rangers in Ocean Beach and Golden Gate Park on the morning of
February 24 followed by McLaren Park in the afternoon. Dedicated youth outreach teams enumerated
Golden Gate Park, Buena Vista Park, Ocean Beach, Lake Merced and Park Merced/Lake on the morning
of February 23. The majority of parks, however, were deemed safe and counted on the night of the
count. Law enforcement agencies were notified of pending street count activity in their jurisdictions. In
census tracts with a high concentration of homeless encampments, specialized teams with knowledge of
those encampments were identified and assigned to those areas. Enumeration teams were advised to
take every safety precaution possible, including bringing flashlights and maintaining a respectful
distance from those they were counting.
Logistics of Enumeration
On the morning of the street count, teams of two persons and no more than three people were created
to enumerate designated areas of San Francisco for the street count. Each team, typically any
combination of outreach workers, lived experience guides and program staff, was provided with their
assigned PIT route maps, access information and training materials for the smartphone application, and
field observation tips and guidelines, including vehicle identification criteria. Each team was assigned a
unique team number and instructed to text a central PIT count dispatch center to confirm they were on
route and on task for enumeration of their route assignments.
All accessible streets, roads, parks, and highways in the enumerated routes were traversed by foot or
car. The San Francisco Survey 123 smartphone app was used to record the number of homeless persons
observed in addition to basic demographic and location information. Dispatch center staff also verified
that teams had started their route assignments and checked out as soon as their routes were
completed, and all data had been entered in the Survey 123 smartphone app. Teams covered the
entirety of their assigned areas.
Multipliers
As in 2019, updates were made to multipliers for persons living in tents, cars, RVs, and vans. Since the
number of persons residing in tents and vehicles is not always visible to general street count teams on
the night of the Point-in-Time count, a multiplier is applied to tents and vehicles where the number of
persons was unknown. In 2022, the tent multiplier was derived from a March 2022 survey conducted by
SF HOT in districts throughout San Francisco, along with responses in the 2022 PIT survey regarding
living situation and household size. Due to the logistical difficulties and safety concerns involved in
engaging individuals living in vehicles, a large-scale survey of individuals living vehicles could not be
easily obtained. Vehicle multipliers were updating using information from the 2022 PIT survey, the 2019
PIT survey, as well as data on homeless households living in vehicles collected for a 2019 Vehicle Triage
Center pilot program.

Methodological Improvements
In 2022, a significant change was made in the transition from paper tally sheets to a mobile application
to complete the general street count and youth street count. Enumerators used GPS-enabled
smartphones to submit data in a mobile application called ESRI Survey 123 developed and customized



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by ASR. This new process limited the need to exchange physical materials, met HUD’s data collection
requirements, and met HUD’s COVID-19 safety recommendation.
Also, improvements were made in pre-planning efforts to assign and deploy enumeration teams
virtually, thereby avoiding the need for centralized deployment centers where COVID-19 transmission
risks would be greater. Outreach organizations and program staff were able to select routes for
enumeration from an interactive GIS planning map tool that enabled planning for complete coverage of
San Francisco. High-density homeless routes were prioritized for outreach workers and personnel with
direct service experience alongside people with lived experience of homelessness, while general
volunteers assisted with low-density routes. Outreach workers were encouraged to select routes they
had familiarity within their regular street outreach work to leverage their expertise on specific locations
observed when counting.
Unsheltered Family Count
Unsheltered families are a challenging population to visually identify during the street count and have
long been suspected as an undercounted population. For the first time, the planning team was able to
develop a new process to improve the accuracy of the unsheltered family count. HSH produced a by-
name list of families recently identified as in need of shelter or prioritized for housing per HMIS data and
enlisted the support of Compass Family Services to call and verify the housing status of households on
the night of February 23, 2022. This process contributed to the count of unsheltered families in 2022
and shows promise for future efforts to better determine the prevalence of unsheltered family
homelessness in San Francisco.
Point-in-Time Count Challenges and Limitations
There are many challenges in any homeless enumeration, especially when implemented in a community
as large and diverse as San Francisco. Point-in-Time Counts are “snapshots” that quantify the size of the
homeless population at a given point during the year. Hence, the count may not be representative of
fluctuations and compositional changes in the homeless population seasonally or over time.
The methods employed in a non-intrusive visual homeless enumeration, while academically sound, have
inherent biases and shortcomings. Many factors may contribute to potential undercounts. For example:
•   It is difficult to identify homeless persons who may be sleeping in vans, cars, recreational vehicles,
    abandoned buildings, or structures unfit for human habitation.
•   Homeless families with children and unaccompanied homeless children, individuals and youth often
    seek opportunities to stay on private property, rather than sleep on the streets, in vehicles, or in
    makeshift shelters.
•   Weather can impact a homeless person’s likelihood of seeking a hotel, friend or family member’s
    home, or other shelter source for a given evening.
In addition, HUD requires the Count to represent homelessness between sunset and sunrise. San
Francisco conducts the bulk of its count between the hours of 8:00 p.m. and midnight, but there may be
differences observed in other time windows.

YOUTH STREET COUNT METHODOLOGY
The goal of the 2022 dedicated youth count was to improve representation of unaccompanied homeless
children and youth under the age of 25 in the Point-in-Time Count. Many youth and young adults
experiencing homelessness do not use homeless services, are unrecognizable to adult street count


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teams, and may be in unsheltered locations that are difficult to find. Therefore, traditional street count
efforts are not as effective in reaching youth.
Research Design
Since 2013, planning for the 2022 supplemental youth count included homeless youth service providers
and youth with lived experience of homelessness. Local service providers identified locations where
homeless youth were known to congregate and recruited youth and young adults currently experiencing
homelessness with knowledge of where to locate homeless youth to serve as guides for the count.
As in past counts, the locations corresponded to areas in the neighborhoods of the Haight, Mission,
Tenderloin, Union Square, Castro, the Panhandle, Golden Gate Park, Buena Vista Park, Ocean Beach,
Lake Merced, Park Merced/Lakeside areas, the Bayview, and the Embarcadero. Service providers
familiar with the map areas identified in each neighborhood were asked to recruit currently homeless
youth to participate in the count.
Youth workers were paid $20 per hour for their time, including time spent in training prior to the count.
Youth and youth service provider staff members were trained on where and how to identify homeless
youth as well as how to record the data.
Data Collection
Youth worked in teams of two to three, with teams coordinated by youth street outreach workers. The
youth count was conducted at the same time as the general street count, from 8:00 p.m. to midnight on
February 23, 2022. Golden Gate Park, Buena Vista Park, Ocean Beach, Lake Merced and Park
Merced/Lakeside were also covered by youth count teams between 7:00 a.m. and 10:00 a.m. on
February 23.
Street Count De-Duplication
Data from the supplemental youth count and general street count were compared and de-duplicated by
assessing location, gender, and age.

SHELTER COUNT METHODOLOGY
Goal
The goal of the shelter count is to gain an accurate count of persons temporarily housed in shelters and
other institutions across San Francisco. These data are vital to gaining an accurate, overall count of the
homeless population and understanding where homeless persons receive shelter.
Definition
For the purposes of this study, the HUD definition of sheltered homelessness for Point-in-Time Counts
was used. This definition includes individuals and families living in a supervised publicly or privately
operated shelters designated to provide temporary living arrangement, such as emergency shelters,
transitional housing, or Safe Haven facilities.
Research Design
The occupancy of emergency shelters, transitional housing programs, and safe haven programs with
beds dedicated to individuals experiencing homelessness was documented for the night of February 23,
2022. Information was collected for programs operating in San Francisco and reportable per HUD
guidance. Data was collected on household type, age, gender, race and ethnicity, veteran status, chronic
status, and if individuals had certain health conditions.

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Data Collection
To collect data on individuals staying in shelters, ASR worked with HSH staff. HSH collected data on all
emergency shelters, transitional housing programs, and Safe Havens operating in San Francisco. Where
possible, data on clients served in temporary housing situations was pulled from HSH’s administrative
data systems: the Online Navigation and Entry (ONE) System, San Francisco’s HUD-compliant Homeless
Management Information System (HMIS); and the SF COVID-19 Placement Tool, a database developed
by RTZ Systems for SIP hotel shelter bed management.
Shelter programs that do not maintain client enrollment data in either the ONE system or the SF COVID-
19 Placement Tool were asked to submit data. A dedicated staff person from each facility submitted
their data for clients served on the night of February 23, 2022, via a web-based Shelter Count Survey
administered by HSH. A designated staff person provided the count for each of these facilities; clients
were not interviewed. For these programs, all persons experiencing homelessness were included in the
Point-in-Time Count per HUD reporting requirements.

SURVEY METHODOLOGY
Planning and Implementation
The data collected through the survey are used for the McKinney-Vento Continuum of Care Homeless
Assistance funding application and are important for future program development and planning. The
survey elicited information such as gender, family status, military service, duration and recurrence of
homelessness, nighttime accommodations, causes of homelessness, and access to services through
open-ended, closed-ended, and multiple response questions. The survey data bring greater perspective
to current issues of homelessness and to the provision and delivery of services.
Surveys were conducted by peer survey workers with lived homeless experience who were referred by
local service providers. Training sessions were facilitated by ASR and community partners. Potential
interviewers were led through a comprehensive orientation that included project background
information as well as detailed instruction on respondent eligibility, interviewing protocol, and
confidentiality. In 2022, training materials and instructions included health and safety protocols to limit
the risk of COVID-19 transmission, and face masks and hand sanitizers were provided to survey workers
and surveyors as needed. Survey workers were compensated at a rate of $10 per completed survey.
Consistent with prior years, it was determined that survey data would be more easily obtained if an
incentive gift was offered to respondents in appreciation for their time and participation. Socks and in
some cases McDonalds gift certificates were provided as an incentive for participating in the 2022
Homeless Survey. The socks and cards were easy to distribute, had broad appeal, and could be provided
within the project budget. The incentives proved to be widely accepted among survey respondents.
Survey Sampling
Based on a Point-in-Time Count estimate of 7,754 homeless persons, with a randomized survey sampling
process, the 768 valid surveys represented a confidence interval of +/-3.5% with a 95% confidence level
when generalizing the results of the survey to the estimated population of individuals experiencing
homelessness in San Francisco.
The 2022 survey was administered in shelters, transitional housing facilities, and on the street. Strategic
attempts were also made to reach individuals in various geographic locations and of various subset
groups such as homeless children and youth, minority ethnic groups, military veterans, domestic
violence survivors, and families. One way to increase the participation of these groups was to recruit

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peer survey workers. The planning team worked closely with local service providers to identify their
places of expertise and had survey locations correspond to the neighborhoods of peer survey workers.
As in past counts, the locations corresponded to areas in the neighborhoods of the Haight, Mission,
Tenderloin, Union Square, Castro, the Panhandle, Golden Gate Park, Buena Vista Park, Ocean Beach,
Lake Merced, Park Merced/Lakeside areas, the Bayview, and the Embarcadero. Service providers
familiar with the map areas identified in each neighborhood were asked to recruit currently homeless
youth to participate in the count. This was especially successful this year with the greater number of
lived experience surveyors that were employed in 2022.
In order to increase randomization of sample respondents, survey workers were trained to employ an
“every third encounter” survey approach. If the person declined to take the survey, the survey worker
could approach the next eligible person they encountered. After completing a survey, the randomized
approach was resumed. In more remote cases where respondents were sparser this survey interval was
modified.
Data Collection
Care was taken by interviewers to ensure that respondents felt comfortable regardless of the street or
shelter location where the survey occurred. During the interviews, respondents were encouraged to be
candid in their responses and were informed that these responses would be framed as general findings,
would be kept confidential, and would not be traceable to any single individual.
Data Analysis
The survey requested respondents’ initials and date of birth so that duplication could be avoided
without compromising the respondents’ anonymity. Upon completion of the survey effort, an extensive
verification process was conducted to eliminate duplicates. This process examined respondents’ date of
birth, initials, gender, ethnicity, length of homelessness, and consistencies in patterns of responses to
other survey questions. This left 768 valid surveys for analysis. Due to the sensitive nature of the survey,
respondents were not required to answer every survey question, and respondents were asked to skip
questions that were not applicable. For this reason, the number of respondents for each survey question
may not total 768.
Survey Methodology Changes
To align with the new HUD FY2022 HMIS data standards, the race, ethnicity, and gender questions and
the response options were updated, ensuring comparability with HMIS data. The following updates
were made to the Point-in-Time Count Survey:
•   Race: Changed question to “What race or races do you identify with?” in 2022. Respondents were
    able to self-identify with one or more of five different racial categories – Asian or Asian American;
    American Indian, Alaska Native, or Indigenous; Black, African American, or African; Native Hawaiian
    or Pacific Islander; and White. Previous versions asked, “Which racial group do you identify with
    most?” and required respondents to select one answer from six options – Asian; American Indian or
    Alaska Native; Black or African American; Native Hawaiian or Pacific Islander; White; and Other.
•   Ethnicity: Changed question to “What ethnicity do you identify with?” in 2022. Respondents were
    asked to identify themselves as Hispanic/Latin(a)(o)(x) or non-Hispanic/Latin(a)(o)(x). Previous
    versions asked, “Are you Hispanic or Latino?”.
•   Gender: Changed question to “What gender do you identify with?” in 2022. Respondents were able
    to self-identify with one or more of five different gender categories – A gender other than singularly


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    female or male (e.g., non-binary, gender fluid, agender, culturally specific gender); female; male;
    transgender; and questioning. Previous versions asked, “What is your gender?” and required
    respondents to select one answer from five options – female; genderqueer/gender non-binary;
    male; transgender; and not listed.
Additionally, in an effort to better understand recent drivers of homelessness, survey respondents were
asked if the primary cause of their homelessness was related to the COVID-19 pandemic or a California
wildfire.
Survey Challenges and Limitations
The 2022 San Francisco Homeless Survey methodology relies heavily on self-reported data collected
from peer surveyors. While self-report allows individuals to represent their own experiences, self-
reported data are often more variable than clinically reported data. However, using a peer-to-peer
interviewing methodology is believed to allow respondents to be more candid with their answers and to
help reduce the uneasiness of revealing personal information. Further, service providers recommended
individuals who would be the best suited to conducting interviews and these individuals received
comprehensive training about how to conduct interviews. Service providers also reviewed the surveys to
ensure quality responses. Surveys that were considered incomplete or containing false responses were
not accepted; the process included reviewing individual surveys submitted by surveyors and assessing
patterns in survey responses for inconsistencies.
In 2022, COVID-19 presented additional challenges in recruiting and staffing survey efforts. As a result,
the total number of valid survey responses collected was slightly lower than prior years. However, this
only slightly reduced the margin of error of responses from +/-3% in 2019 to +/-3.5% in 2022 with a 95%
confidence interval.
It is worth noting that while surveys are distributed to a broad geography, specific survey quotas were
not set to represent the shelter status of respondents. The two previous counts in 2017 and 2019
resulted in 75% unsheltered respondents and 25% sheltered respondents while the 2022 effort yielded
85% unsheltered and 15% sheltered. This difference in 2022 was almost exclusively in a lower number of
emergency shelter respondents as the transitional shelter respondents were consistent with previous
years. Historically, unsheltered survey responses and emergency shelter survey responses have been
very similar. The research team does not believe that weighting response data is warranted and the
survey responses in the report are representative of the total population.
It is important to recognize that variations between survey years may result from shifts in the
demographic profiles of surveyors and accessibility to certain populations. Survey confidence intervals
presented indicate the level of variability that may occur from year to year when interpreting findings.
While every effort was made to collect surveys from a random and diverse sample of sheltered and
unsheltered individuals, the hard-to-reach nature of the population experiencing homelessness prevents
a true random sampling. Recruitment of diverse and geographically dispersed surveyors was prioritized.
However, equal survey participation across all populations may be limited by the participation and
adequate representation of subpopulations in planning and implementation processes. This includes
persons living in vehicles, who are historically difficult to enumerate and survey.
Consequently, survey data and data derived from survey responses may shift from year to year. It is for
this reason Point-in-Time Count data should be used in conjunction with other community sources of
data on individuals and families experiencing homelessness to gather a comprehensive understanding of
the community.



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APPENDIX B: SUPPLEMENTAL
POINT-IN-TIME COUNT DATA
SUPPLEMENTAL SHELTER COUNT
The official Point-in-Time Count uses the HUD definition of homelessness, which includes individuals and
families:
•   Living in a supervised publicly or privately operated shelter designated to provide a temporary living
    arrangement; or
•   With a primary nighttime residence that is a public or private place not designed for or ordinarily
    used as a regular sleeping accommodation for human beings, including a car, park, abandoned
    building, bus or train station, airport, or camping ground.
Historically, the City and County of San Francisco has expanded this definition to include persons who
were “doubled-up” in the homes of family or friends; individuals staying in jails, hospitals, or residential
facilities who are otherwise homeless; and families living in Single Room Occupancy (SRO) units.
Information on homeless individuals residing in jails, hospitals, and residential treatment facilities was
gathered to provide broader context to the scope of homelessness experienced in San Francisco. The
following table summarizes the total number of additional persons counted using the more expansive
local definition of homelessness.

                                                        San Francisco Supplemental
                                                       Point-in-Time Count Numbers

                                                        2017       2019       2022

                        Total number of persons         641        1,773      1,238

                        Total number of individuals      624       1,748      1,172

                        Total number of families          8          11         36

                        Total number of persons in
                                                         17          25         66
                        families

Fewer individuals were reported as homeless upon entrance to these sites in 2022 with an overall
reduction of 30%. However, the number of homeless families increased in 2022, primarily attributable
to residential treatment centers and alternative sentencing program sites dedicated to women and
children.

SUPPLEMENTAL SHELTER COUNT
METHODOLOGY
Goal
The goal of the supplemental shelter count is to better understand the extent of the population
currently residing in temporary institutional settings that may otherwise be homeless. These
institutional settings are not reportable according to HUD requirements for the Housing Inventory Count
(HIC) or Point-in-Time Count.


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Scope
For the purposes of the supplemental count, the San Francisco Supplemental Point-in-Time Count
includes data from jails, hospitals, and residential treatment facilities. Due to challenges identifying and
locating families living in SROs and persons “doubled-up” in the homes of family or friends, these
individuals are not included in the scope of this count.
Research Design
The following types of facilities were identified for inclusion the San Francisco Supplemental Point-in-
Time Count:
•   Residential Treatment Facilities: The San Francisco Department of Public Health and local agencies
    assisted in collecting counts of self-identified homeless persons staying in various residential
    treatment centers not specifically designated for homeless persons (e.g. mental health facilities,
    acute crisis or treatment centers, detox facilities, etc.) on the night of February 23, 2022.
•   Jail: The San Francisco Sheriff’s Department provided data on inmates who were in County Jail on
    the morning of February 23, 2022, and provided the number of persons who were experiencing
    homelessness at the time of arrest. The method for gathering jail data is explained further below.
•   Hospitals: The San Francisco Department of Public Health assisted with the coordination of
    obtaining count numbers from hospitals. Staff from individual hospitals collected the number of
    persons who were self-identified as homeless in their facilities on the night of February 23, 2022.
    The numbers reported for the hospitals did not duplicate the inpatient mental health units.
•   Isolation and Quarantine Beds: In 2022, the City and County of San Francisco operated hotel sites
    for certain populations with COVID-19 to recover. Beds exclusively dedicated to homeless clients
    were reported in HUD’s Housing Inventory Count (HIC) and Point-in-Time Count, but homeless
    individuals served in beds otherwise not exclusively dedicated to homeless individuals are
    represented here.
For the City and County of San Francisco’s expanded definition of homelessness, appropriate staff at
hospitals and treatment centers were identified prior to the Point-in-Time Count and asked to complete
the online shelter count survey detailing the number of homeless individuals they served on the night of
February 23, 2022. A total of 61 hospital and residential treatment programs were represented in the
supplemental count in 2022 accounting for 860 homeless persons identified. Three additional programs
were surveyed but not reachable.
To obtain data from the county jails, HSH worked closely with the Sheriff’s Office. As in previous years,
the Sheriff’s Department generated a list of all inmates in county jail facilities on the night of February
23, 2022. Demographic information including age, gender, gender identity, ethnicity, and veteran status
(self-reported) were pulled from the Sheriff’s Department’s administrative data system (JMIS). In 2019,
this data was further validated through a follow-up survey conducted by the Sheriff’s Department to ask
questions regarding living situation prior to arrest. Due to staffing challenges during the winter surge of
the COVID-19 Omicron variant, this survey was not conducted in 2022 and all data reflect information
from the JMIS.
In 2022, 366 inmates in San Francisco county jails were identified as homeless compared to 472
homeless inmates identified in 2019. While this represents a 22% decrease in the total number of
homeless inmates identified compared to 2019, the rate of homelessness amongst inmates was higher
(43% compared to 35%) as the total jail population reduced from 1,366 to 842.


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Challenges and Limitations
Ensuring comprehensive representation of all relevant publicly and privately funded programs
throughout the City remains a challenge each year. The supplemental count relies on the cooperation of
many agencies not otherwise dedicated to homelessness or contracted through the San Francisco
Department of Homelessness and Supportive Housing.
As most of these programs are not funded by HUD CoC grant programs and are not exclusively or
explicitly dedicated to serving homeless individuals, it can be challenging to ensure that all agencies are
identifying the homeless status of patients and clients at entry in a manner consistent with HUD or San
Francisco definitions. Improved training and guidance in future counts may help to maximize the
accuracy of the data collected.


SAN FRANCISCO UNIFIED SCHOOL
DISTRICT DATA
In addition to the supplemental shelter count, HSH considers data from local schools. The U.S.
Department of Education requires that school districts receiving McKinney-Vento funds report on
homeless children that “lack a fixed, regular, and adequate nighttime residence.” 12 This definition is
more expansive than the HUD PIT count definition and includes families that are doubled-up or living in
motels/hotels as homeless. SFUSD’s data reflect information collected on an ongoing basis throughout
the schoolyear to meet the broader definition above for McKinney-Vento Act (MVA) compliance. The
figures below reflect data as of October 1st of each year to roughly align with the beginning of the school
years. Though these figures are more expansive than HUD’s definition of homelessness for the PIT count
and capture a broader time-frame than a single night, this serves as an important source of information
and a key indicator of progress on reducing family homelessness.

Figure 50. NUMBER OF STUDENTS IN SFUSD EXPERIENCING HOMELESSNESS (MVA DEFINIT ION)


          2,275               2,353
                                                                                         2,061
                                                  1,844              1,806




          2012                2014               2016                2018                2021




12
     California Department of Education. Definition of Homeless. Retrieved from
     https://www.cde.ca.gov/sp/hs/homelessdef.asp#:~:text=The%20McKinney%2DVento%20Act%20defines,hardship%2C
     %20or%20a%20similar%20reason


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FAMILIES IN SRO UNITS OR DOUBLED UP
Data on families living in SRO units and individuals who are “doubled-up” is challenging to collect
comprehensively and for a given night. While HUD does not count families in these living situations in
the PIT Count, HSH serves these families per our local definition of homelessness and considers other
data sources that may represent the scope of this population.
The SRO Families United Collaborative, a partnership of five community-based organizations, reported in
2020 that 431 families lived in SROs in Chinatown, Mission, Tenderloin and South of Market
neighborhoods.13 In addition, San Francisco’s Housing Primary Assessment for families asks a question
related to current living situation where “San Francisco Single Room Occupancy (SRO) unit” is a response
option. In the year preceding the Point in Time Count, only one family of 931 assessments conducted
selected this response option, which may indicate that few families in this living situation are seeking
services through HSH.
Families “doubled up” and renting small spaces or rooms in the private market are also challenging to
identify clearly in HMIS data. In the Housing Primary Assessment for families, respondents may indicate
their current living situation is “With another family (excluding your parents or adult children) in a
housing unit in SF and is not being asked to leave.” In addition, clients with a program enrollment in the
HMIS system are asked to identify their current living situation in accordance with HUD HMIS data
standards. Families doubled up are likely to respond as:
•    “Staying or living in a family member’s room, apartment or house”
•    “Staying or living in a friend’s room, apartment, or house”

Over the course of the year preceding the PIT from February 23, 2021 to February 23, 2022, HMIS data
indicates that 487 family households identified with one of the living situations cited above.




13
   San Francisco Controller’s Office. SRO Families United Collaborative. Retrieved from
https://sfcontroller.org/sites/default/files/Our%20City%2C%20Our%20Home/5c.i.%20Families%20in%20SROs%20Presentation.pdf


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   APPENDIX C: GENERAL SURVEY
   DEMOGRAPHIC COMPARISON
                                                                                              2017          2019           2022

Age                                                 Less than 18 years                         2%            1%                1%


                                                    18 - 24 years                             19%            18%               20%



                                                    25 - 30 years                             11%            6%                10%



                                                    31 - 40 years                             17%            18%               25%


                                                    41 - 50 years                             19%            22%               20%


                                                    51 - 60 years                             21%            25%               17%


                                                    61 years or more                          11%            10%               8%




What gender do you identify with? 14                Female                                    33%            35%               34%


                                                    Male                                      61%            59%               58%


                                                    Transgender                                5%            4%                4%

                                                    A Gender Other Than Singularly
                                                    Female or Male (e.g., Non-Binary,
                                                                                                --            --               2%
                                                    Gender Fluid, Agender, Culturally
                                                    Specific Gender)

                                                    Questioning                                 --            --               1%


                                                    Don’t know/Refuse                           --            --               1%


                                                    Not Listed                                 0%            1%                 --


                                                    Genderqueer/Gender Non-Binary              1%            1%                 --




   14
        Survey question changed in 2022. Previous version asked, “ What is your gender?” The answer choices to this question
        were also modified to align with HUD data collection standards on gender identity.


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What ethnicity do you identify with? 15          Hispanic/Latin(a)(o)(x)                    22%            18%               30%


                                                 Non-Hispanic/Latin(a)(o)(x)                75%            79%               60%


                                                 Don't know/Refuse                           3%            3%                11%



                                                 American Indian, Alaska Native, or
What race or races do you identify with? 16                                                  3%            5%                6%
                                                 Indigenous

                                                 Asian or Asian American                     4%            5%                7%


                                                 Black, African American, or African        34%            37%               35%


                                                 Native Hawaiian or Pacific Islander         2%            2%                5%


                                                 White                                      35%            29%               42%


                                                 Multi-Racial                                 --            --               6%


                                                 Other                                      22%            22%                --



If you identify as LGBTQ+, what gender do you
                                              Bisexual                                      41%            26%               29%
identify with? Do you consider yourself…? 17

                                                 Gay/Lesbian/Same Gender Loving             39%            50%               31%


                                                 Other                                      11%            7%                12%


                                                 Questioning/Unsure                           --            --               10%


                                                 Transgender                                 9%            13%               15%

                                                 A Gender Other Than Singularly
                                                 Female or Male (e.g., Non-Binary,
                                                                                              --            --               6%
                                                 Gender Fluid, Agender, Culturally
                                                 Specific Gender)

                                                 Questioning                                  --            --               2%


                                                 Queer                                      11%             --                --


                                                 Genderqueer/Gender Non-Binary                --           3%                 --




   15
      Survey question changed in 2022. Previous version asked, “Are you Hispanic or Latino?” The answer choices to this
      question were also modified to align with HUD data collection standards on ethnicity.
   16
      Survey question changed in 2022. Previous version asked, “Which racial group do you identify with most? (shade all)”
      The answer choices to this question were also modified to align with HUD data collection standards on race.
   17
      Survey questions changed in 2022. Previous version asked, “Which of the following best represents how you think of
      your sexual orientation?” The answer choices to these questions were also modified to align with HUD data collection
      standards on sexual orientation and gender identity.


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Have you ever been in foster care?               Yes                              19%   18%   22%


                                                 No                               81%   80%   75%


                                                 Don’t know                        --   2%     3%



                                                 Any chronic health problem or
Do you experience any of the following?                                           31%   31%   22%
                                                 medical condition

                                                 Post-Traumatic Stress Disorder   29%   37%   38%

                                                 Any psychiatric or emotional
                                                                                  39%   39%   36%
                                                 condition

                                                 A physical disability            23%   27%   21%


                                                 A traumatic brain injury         12%   15%   13%


                                                 Drug or alcohol abuse            41%   42%   52%


                                                 An AIDS or HIV related illness   11%   7%     8%



How long have you been homeless this current
                                             7 days or less                       3%    2%     7%
time?

                                                 8 – 30 days                      5%    3%     5%


                                                 1 – 3 months                     6%    5%     5%


                                                 4 – 6 months                     15%   15%   17%


                                                 7 – 11 months                    12%   10%    8%

                                                 1 year                           12%   13%   13%


                                                 More than 1 year                 47%   52%   46%




Is this the first time you have been homeless?   Yes                              25%   31%   23%


                                                 No                               75%   69%   77%




                                                                                              69
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What do you think is the primary event or
                                                     Lost job                                    22%            26%            21%
condition that led to your homelessness? 18

                                                     Eviction                                    12%            13%            14%


                                                     Foreclosure                                 2%             1%              2%

                                                     Incarceration/Probation and Parole
                                                                                                 7%             7%              7%
                                                     Restriction

                                                     Alcohol or drug use                         15%            18%            12%


                                                     Illness/medical problem                     7%             6%              3%


                                                     Divorce/separation/break up                 10%            5%              6%


                                                     Landlord raised rent                        4%             5%              4%

                                                     Argument with family or friend who
                                                                                                 13%            12%             9%
                                                     asked you to leave

                                                     Family/domestic violence                    5%             5%              4%


                                                     Mental health issues                        6%             8%              7%


                                                     Hospitalization/treatment                   2%             1%              2%


                                                     Aging out of foster care                    1%             1%              1%


                                                     Reduced work hours                           --             --             3%


                                                     Lost child care                              --             --            <1%

                                                     Someone in the house was ill, and I
                                                     left to protect myself or my                 --             --             1%
                                                     dependents

                                                     Other                                       8%             7%              8%


                                                     Don’t know/Decline to state                 6%             5%             17%




   18
        In 2022, the answer choices to this question were modified to align with local data collection standards on prim ary
         cause of homelessness.


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                  O/956:+,.5/ÿ=G2,1:ÿH<NO=IP
                  @01ÿ=QÿRASO*ÿTB+81:1/,ÿ@55BJÿ+ÿ3+,+4+21ÿ31D1B5M13ÿ4GÿU@Vÿ=G2,1:2ÿ+/3ÿ7213ÿ956ÿ413
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                  =5:1ÿ4132JÿB.w1ÿ,01ÿF:16E1/8Gÿ=01B,16ÿHR+61ÿC5,ÿR+20Iÿ4132ÿ619161/813ÿ./ÿ,01ÿ3+2045+63Jÿ+61
                  01B3ÿ956ÿ[XsX[[kpmÿs[ZnÿmYXd]xdÿY[Z_[knÿYk[\^X[mÿ56ÿ0+D1ÿ2M18.+Bÿ1B.E.4.B.,Gÿ86.,16.+ÿ+/3ÿ:72,
                  61:+./ÿD+8+/,ÿ7/,.Bÿ+MM65M6.+,1ÿ619166+B2ÿ+61ÿ+D+.B+4B1P
                  Q56ÿM65E6+:2ÿ:+/+E./Eÿ3+,+ÿ./ÿ,01ÿACFÿ=G2,1:Jÿ,01ÿ5887M+/8Gÿ2,+,72ÿ59ÿ+ÿE.D1/ÿ413ÿ56ÿ7/.,
                  8+//5,ÿ41ÿ,6+8w13PÿA887M+/8Gÿ./ÿ,0121ÿM65E6+:2ÿ.2ÿ12,.:+,13ÿ4+213ÿ5/ÿ,01ÿ^cnrX[ÿZsÿ_cXm\mÿZ[
                  yZcmXyZpomÿX^[ZppXoÿ]^ÿkÿY[Z_[knPÿ@0121ÿM65E6+:2ÿ:+Gÿ588+2.5/+BBGÿ+MM1+6ÿ,5ÿ0+D1ÿ+/
                  5887M+/8GÿE61+,16ÿ,0+/ÿ,01ÿ8+M+8.,Gÿ371ÿ,5>
                        3+,+ÿz7+B.,Gÿ.22712ÿ./ÿ;0.80ÿE712,2ÿ+61ÿ/5,ÿ1{.,13ÿ965:ÿM65E6+:2ÿ./ÿ+ÿ,.:1BGÿ9+20.5/|ÿ
                        +37B,ÿ857MB12ÿ1/65BB13ÿ./ÿ+ÿM65E6+:ÿ21M+6+,1BGÿ47,ÿ5887MG./Eÿ+ÿ2./EB1ÿ413|ÿ56ÿ

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                       *+,+ÿ./+01,2ÿ133/43ÿ15ÿ67187ÿ9/43,3ÿ61,715ÿ,74ÿ3+:4ÿ7;/347;0*ÿ+<4ÿ5;,ÿ+==<;=<1+,402ÿ015>4*
                       15ÿ,74ÿ?@Aÿ323,4:ÿ+5*ÿ+==4+<ÿ,;ÿ<4=<4345,ÿ:/0,1=04ÿ7;/347;0*3Bÿ
                       DEDÿ13ÿ6;<>159ÿ61,7ÿ=<;F1*4<3ÿ,;ÿ:151:1G4ÿ*+,+ÿ./+01,2ÿ133/43B
                  D13,;<18ÿ8+=+81,2ÿ+5*ÿ;88/=+582ÿ*+,+ÿ13ÿ5;,ÿ+F+10+H04B



                   IJKÿMJNOP
       QRSJÿMKTJPUÿV;<ÿ*4W51,1;53ÿ;Xÿ31,4ÿ,2=43Yÿ344ÿ,74ÿ013,159ÿH40;6ÿ,74ÿ*+37H;+<*ÿ;5ÿ,74ÿZ4:=;<+<2ÿE740,4<
       +5*ÿ[<1313ÿ\5,4<F45,1;53ÿ64H=+94Bÿ


       ]^_`NJ`aSJbc^_d]^_`NJ`aSJÿQRSJPU
                  ]^_`NJ`aSJÿ=<;9<+:3ÿ34<F4ÿ9/43,3ÿ15ÿ+ÿ8;::;5ÿ3=+84ÿ61,7ÿ:;<4ÿ,7+5ÿeÿH4*3B
                  c^_df^_`NJ`aSJÿ=<;9<+:3ÿ7+F4ÿ=<1F+,4ÿ/51,3BÿE;:4ÿ5;5g8;59<49+,4ÿ=<;9<+:3ÿ8+5ÿ34<F4
                  7;/347;0*3ÿ61,7ÿ:;<4ÿ,7+5ÿ;54ÿ=4<3;5ÿ15ÿ+ÿ315904ÿ/51,Bÿ
                  QJORdf^_`NJ`aSJÿ=<;9<+:3ÿ8+5ÿ34<F4ÿ:/0,1=04ÿ7;/347;0*3ÿ15ÿ+ÿ315904ÿ/51,ÿ61,7ÿhÿ,;ÿeÿH4*3BÿE;:4
                  /51,3ÿ15ÿ34:1g8;59<49+,4ÿ=<;9<+:3ÿ:+2ÿH4ÿ=<1F+,4ÿH/,ÿ+<4ÿ8;/5,4*ÿ+3ÿ34:1g8;59<49+,4ÿ*/4ÿ,;
                  ,74ÿ31,4g04F40ÿ80+331W8+,1;5Bÿ


       i^TjkaSR^_Uÿ\*45,1W43ÿ=<;9<+:3ÿH2ÿ,74ÿ=;=/0+,1;5ÿ,742ÿ34<F4B

                              ilimnoMplc                            qrspcpMplc
                                                                    u<;9<+:3ÿ;=45ÿ,;ÿ+*/0,ÿ7;/347;0*3ÿ61,7;/,
                                  t*/0,
                                                                    8710*<45ÿ/5*4<ÿvwB
                                  V+:102                            u<;9<+:3ÿ;=45ÿ,;ÿ7;/347;0*3ÿ61,7ÿ+,ÿ04+3,ÿ;54
                                                                    +*/0,ÿ+5*ÿ+,ÿ04+3,ÿ;54ÿ8710*ÿ/5*4<ÿvwYÿ+3ÿ6400ÿ+3
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                            *+*,-./0+1                              234010/0+1
                                                                    5678956:;8ÿ=>?5ÿ@?ÿ:9@8?ÿ6A9ÿBC9DA@A?ÿB9C86AE
                                                                    GC6DC@H8ÿ6B9Aÿ?6ÿ7A@II6HB@A>9;ÿJ67ADÿ@;7:?8E
                                                                    K68?ÿBC6DC@H8ÿ@C9ÿL6CÿJ67ADÿ@;7:?8ÿ@D98ÿMNÿ?6
                             F67ADÿ@;7:?8
                                                                    OPQÿR7?ÿ86H9ÿBC6DC@H8ÿ89CS9ÿB96B:9ÿ7Bÿ?6ÿ?59
                                                                    @D9ÿ6LÿOTE

                                 K>A6C8                             GC6DC@H8ÿ6B9Aÿ?6ÿ7A@II6HB@A>9;ÿH>A6C8ÿ7A;9C
                                                                    MNE




                  UVWXYZ[

                                U3/\0]                              234010/0+1
                                                                    d59ÿW^W_ÿ̀ecfgVXÿ^hÿiV^iV̀ÿ[W_jYekÿYeÿ[lVẀVX
                                                                    _emÿZXY[Y[ÿYeWVXnVeWY^eÿiX^kX_f[ÿ@8ÿ6Lÿ?59
                                                                    C9B6C?ÿ;@?9Eÿd5>8ÿA7HR9CÿH@JÿS@CJÿLC6H
                             /^W_ÿ̀bcV[W[                           6II7B@AIJÿA7HR9C8Qÿ=5>I5ÿC9o9I?ÿ@I?7@:ÿR9;8
                                                                    @A;ÿ7A>?8ÿ6II7B>9;EÿpAÿI9C?@>AÿI>CI7H8?@AI98Q
                                                                    H7:?>B:9ÿ>A;>S>;7@:8ÿI@Aÿ6II7BJÿ6A9ÿR9;ÿ6Cÿ6A9
                                                                    7A>?E
                                                                    d59ÿA7HR9Cÿ6LÿR9;8ÿ6Cÿ7A>?8ÿ>Aÿ?59ÿ8J8?9Hÿ@?ÿ?59
                                ]_i_ZYWj                            ?>H9ÿ6Lÿ?59ÿC9B6C?Eÿr@B@I>?Jÿ6Lÿ@ÿBC6DC@HÿI@A
                                                                    S@CJÿ6S9Cÿ?>H9ÿR@89;ÿ6Aÿ@ÿA7HR9Cÿ6LÿL@I?6C8Q
                                                                    >AI:7;>ADÿI5@AD98ÿ?6ÿrstpuvMwÿ8B@I>AD
                                                                    D7>;9:>A98E

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                                                                    /4567869:8ÿ<=>ÿ@8ABCD4567869:8ÿ@8::B56@E
                                                                    F<G<FHIJÿKLGKLML=IMÿN8O@P

                                                                    245CD4567869:8ÿMLIIH=QMEÿF<G<FHIJÿKLGKLML=IM
                                                                    R5B:@Pÿ
                                                                    VWLÿIXI<Yÿ=Z[\LKÿX]ÿ\L>MÿXKÿZ=HIMÿXFFZGHL>ÿ\J
                                                                    QZLMIMÿX=ÿIWLÿ><ILÿX]ÿIWLÿKLGXKIP
                                                                    /4567869:8ÿ95Oÿ@8ABCD4567869:8ÿ@8::B56@^
                                                                    XFFZG<=FJÿKL_LFIMÿIWLÿ=Z[\LKÿX]ÿ\L>MÿXFFZGHL>
                                                                    \Jÿ<IÿYL<MIÿX=LÿQZLMIPÿ̀XKÿabcÿdJMIL[ÿ><I<e
                                                                    L<FWÿQZLMIÿHMÿ<MMZ[L>ÿIXÿKLGKLML=IÿX=L
                                                                    XFFZGHL>ÿ\L>Pÿ
                              3DDRT95DU
                                                                    245CD4567869:8ÿ@8::B56@^ÿXFFZG<=FJÿKL_LFIM
                                                                    IWLÿ=Z[\LKÿX]ÿZ=HIMÿXFFZGHL>ÿ\Jÿ<IÿYL<MIÿX=L
                                                                    GLKMX=Pÿ̀XKÿLf<[GYLeÿ<ÿ=X=gFX=QKLQ<ILÿ]<[HYJ
                                                                    MWLYILKÿZ=HIÿhHYYÿ\LÿFXZ=IL>ÿhHIWÿ<=ÿXFFZG<=FJ
                                                                    X]ÿX=LÿH]ÿIWLÿZ=HIÿHMÿXFFZGHL>eÿhWLIWLKÿIW<IÿZ=HI
                                                                    HMÿXFFZGHL>ÿ\Jÿ<ÿMH=QYLÿGKLQ=<=IÿGLKMX=ÿXKÿ<
                                                                    ]<[HYJÿX]ÿ]XZKPÿ̀XKÿabcÿdJMIL[ÿ><I<eÿL<FW
                                                                    WXZMLWXY>ÿHMÿ<MMZ[L>ÿIXÿKLGKLML=IÿX=L
                                                                    XFFZGHL>ÿZ=HIP
                           3DDRT95DUÿ-9:8                           VWLÿ4DDRT95DUÿ>HiH>L>ÿ\JÿIWLÿD9T9DB:Ueÿ=XIÿIWL
                                                                    FXZ=IÿX]ÿIXI<YÿQZLMIMÿ>HiH>L>ÿ\JÿIWLÿF<G<FHIJP

                                                                    j=ÿFLKI<H=ÿFHKFZ[MI<=FLMeÿ]<[HYJÿFX=QKLQ<IL
                                                                    MWLYILKMÿ[<JÿW<iLÿYH[HIMÿX=ÿ\XIWÿIWLÿIXI<Y
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                                                                    56789:ÿ<=ÿ>5?>@>?6ABÿC69DEDÿEFAEÿGA5ÿ89ÿD9:@9?
                                                                    A5?ÿEF9ÿE<EABÿ56789:ÿ<=ÿ=A7>B>9DÿEFAEÿGA5ÿ89
                                                                    D9:@9?HÿI5ÿEF9D9ÿGAD9DJÿK:<C:A7DÿEFAEÿFA@9ÿD<79
                                                                    @AGA5Eÿ89?Dÿ86EÿFA@9ÿ:9AGF9?ÿEF9ÿ7AL>767
                                                                    56789:ÿ<=ÿ=A7>B>9DÿEF9MÿGA5ÿD9:@9ÿN>BBÿ89
                                                                    GABG6BAE9?ÿAEÿAÿOPPQÿ<GG6KA5GMÿ:AE9H




                   RSTUVWXYUZ
                  [<:ÿC959:ABÿ>5\6>:>9DJÿG<5EAGEÿFDF9LE9:5ABA==A>:D]D=C<@H<:C
                  [<:ÿ79?>Aÿ>5\6>:>9DJÿG<5EAGEÿFDF79?>A]D=C<@H<:C
                  [<:ÿE9GF5>GABÿ>DD69Dÿ:9BAE9?ÿE<ÿEF>Dÿ?ADF8<A:?JÿG<5EAGEÿFDF?AEA]D=C<@H<:C


                                             ^9E6:5ÿE<ÿEF9ÿ_F9BE9:ÿA5?ÿ̀:>D>D
                                           I5E9:@95E><5DÿI5@95E<:MÿaADF8<A:?




b6E<7AE>Gÿc:A5DBAE><5ÿa>DGBA>79:
ddPÿc6:eÿ_E:99E
_A5ÿ[:A5G>DG<Jÿ̀bÿfdOPg
`<5EAGEÿhD
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              ;ÿ<=<=><=<?ÿ*1@ÿA21@3783BÿC0D126E0@6ÿBFÿ/BE0G088@088ÿ1@Hÿ*IDDB267J0ÿ/BI87@KLÿ,GGÿ-7K468ÿ-0802J0HL




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